       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 1 of 96




                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JAMIE LEE ANDREWS, as                        *
Surviving Spouse of                          *
MICAH LEE ANDREWS, Deceased,                 *       CIVIL ACTION FILE
and JAMIE LEE ANDREWS, as                    *
Administrator of the Estate of               *       NO. 1:14-CV-03432-SCJ
MICAH LEE ANDREWS, Deceased,                 *
                                             *
       Plaintiff,                            *
                                             *
v.                                           *
                                             *
AUTOLIV JAPAN, LTD.,                         *
                                             *
       Defendant.                            *

                  FINAL ORDER AND JUDGMENT
     INCLUDING FINDINGS OF FACT AND CONCLUSIONS OF LAW1

       Plaintiff Jamie Andrews filed this products liability action in the State Court

of Fulton County, Georgia on September 18, 2014. Doc. No. [1-2].2 Defendants,




1 Pursuant to Local Rule 16.4(B)(25), both parties presented proposed findings of fact and
conclusions of law. After review and in accordance with applicable rules, the Court has
exercised its discretion to adopt parts of the proposals presented by both parties. Doc.
Nos. [530]; [531]. To the extent Plaintiff’s proposals cited exhibits that were not admitted
at trial (e.g., PX 83, 151), those exhibits have been omitted from this Order.
2 All record citations are to the CM/ECF electronic docket unless otherwise noted, and
all page numbers are derived from the headers imprinted by the Court’s docketing
software. The Trial Transcripts are not yet available on CM/ECF. The Trial Transcripts
citations herein were derived from the final versions electronically submitted to the Court
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 2 of 96




including Autoliv, removed Plaintiff’s lawsuit to this Court on October 24, 2014.

Doc. Nos. [1]; [2].3 The case was assigned to Judge William S. Duffey Jr. After Judge

Duffey granted summary judgment in Autoliv’s favor in January 2017, Plaintiff

appealed. Doc. Nos. [274]; [285]. On March 16, 2018, the United States Court of

Appeals for the Eleventh Circuit reversed, in substantive part, the summary

judgment that was entered in Autoliv’s favor. Doc. No. [309]. On July 23, 2018, the

Eleventh Circuit issued its mandate, remanding the case to this Court. Doc. No.

[312]. Because Judge Duffey retired from this Court on July 1, 2018, this case was

reassigned to the undersigned. Doc. No. [313].

       By consent of the parties, this case was tried before the Court without a jury

on October 4–13, 2021. Doc. Nos. [366]; [498]. After examining the evidence,

determining the credibility of the witnesses, and considering the arguments of




by the court reporters. (For purposes of clarification, the Court notes that it received one
final transcript for October 7, 2021 which contained a typographical error in the header
section bearing the “afternoon session” label. Said volume was actually the A.M. session
and has been cited herein accordingly.) Lastly, all transcripts referenced in this Order are
cited as numbered by the court reporter, using a “Tr.” citation.
3 The Defendants listed in the Notice of Removal are: Mazda Motor Corporation, Mazda
Motor of America, Inc. (collectively “Mazda” unless otherwise noted), Autoliv, Inc.,
Autoliv ASP, Inc., Autoliv AB, Autoliv Japan, Ltd., Autoliv Safety Technology, Inc.,
Autoliv LLC, Autoliv North America, Inc., Robert Bosch LLC and Robert Bosch North
America Corporation (collectively “Bosch” unless otherwise noted). Over the course of
the litigation, most of these defendants settled or were dismissed from the case. The bench
trial only involved Autoliv Japan, Ltd. (hereinafter “Autoliv” unless otherwise noted).


                                             2
         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 3 of 96




counsel, the Court finds that Plaintiff has proven by a preponderance of the

credible evidence that Micah Andrews’s injuries and death on April 12, 2013 were

caused by a defective seatbelt designed and manufactured by Autoliv.4

        Accordingly, the Court finds special damages are warranted in the amount

of $19,343.40 (Nineteen Thousand Three-Hundred Forty Three Dollars and Forty

Cents) for funeral and medical expenses5 and general damages in the amount of

$2,000,000.00 (Two Million Dollars) for the predeath fright, shock, terror, and

pain and suffering that Mr. Andrews endured.6 In closing argument, Plaintiff left

the amount of predeath fright, shock, terror, and pain and suffering up to the

enlightened conscience of the Court.7 In response, Autoliv did present evidence or

argument to dispute that Mr. Andrews suffered predeath fright, shock, terror, and

pain and suffering.



4Plaintiff withdrew her negligence and negligent design claims per the Pretrial Order.
Doc. No. [485], 4 n.1; 16.
5 The parties stipulated before trial that the medical expenses arising from Mr. Andrews’s
collision totaled $6,750.00 and the funeral expenses for Mr. Andrews’s burial totaled
$12,593.40. Doc. No. [503], ¶¶ 8, 9.
6  See e.g., Beam v. Kingsley, 255 Ga. App. 715, 716, 566 S.E.2d 437, 439 (2002) (indicating
that evidence that the decedent was aware of the impending collision, swerved to avoid
it, suffered injuries, survived for as much as two minutes after the crash, and could be
heard choking and gasping for breath as he drowned in his own blood supported an
award of $2,584,000 in damages for pain and suffering and funeral expenses).
7   The amounts herein will be apportioned at the conclusion of this judgment.


                                             3
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 4 of 96




      The Court finds that damages should be awarded for the full value of

Mr. Andrews’s life. The full value of Mr. Andrews’s life is determined from his

perspective and has two components under Georgia law: an intangible component

and an economic component. In closing argument, Plaintiff asked that the Court

award full value of life damages in an amount of not less than $25,000,000.00.

Autoliv did not dispute, by evidence or argument, that the full value of

Mr. Andrews’s life is at least $25,000,000.00. Based on the evidence, the Court finds

that the full value of Mr. Andrews’s life is $25,000,000.00 (Twenty-Five Million

Dollars).

      The Court also finds that Plaintiff has proven by clear and convincing

evidence that Autoliv’s conduct in designing, manufacturing, and selling the

subject seatbelt showed “that entire want of care which would raise the

presumption of conscious indifference to consequences.” O.C.G.A. § 51-12-5.1(b).

As a result, the Court finds that punitive damages should be awarded to “punish,

penalize, or deter” Autoliv, not to compensate Plaintiff. O.C.G.A. § 51-12-5.1(c). In

closing argument, Plaintiff asked that the Court award punitive damages of not

less than $100 million. The Court deems said amount appropriate after

consideration of all evidence and applicable law. Accordingly, the amount of

punitive damages awarded is $100,000,000.00 (One-Hundred Million Dollars),


                                         4
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 5 of 96




and said amount is not limited by law because Plaintiff’s cause of action is one for

products liability. O.C.G.A. § 51-12-5.1(e)(1).8

I.    FINDINGS OF FACT9

      A.     The Court has subject matter jurisdiction.

      Plaintiff Jamie Andrews is a citizen of Georgia. She is the widow of

Mr. Micah Andrews who died on April 12, 2013. Mr. Andrews was a citizen of

Georgia at the time of his death. Defendant Autoliv Japan, Ltd. is a subsidiary of

Autoliv, Inc., wholly owned by that corporation. Autoliv, Inc. is publicly traded

on the New York Stock Exchange. The principal place of business of Autoliv Japan,

Ltd. is in Japan. The parties are completely diverse, and this Court has subject

matter jurisdiction to hear this case under 28 U.S.C. §§ 1332(a)(2), 1441(b).10




8 There is also no statutory punitive damages recovery bar as Autoliv adduced no
evidence at trial to show that any other Georgia court has imposed punitive damages on
Autoliv for its conduct related to the subject seatbelt. See O.C.G.A. § 51-12-5.1(e)(1)
(“Only one award of punitive damages may be recovered in a court in this state from a
defendant for any act or omission if the cause of action arises from product liability,
regardless of the number of causes of action which may arise from such act or omission.”).
9 The Court has used the term “findings of fact” for simplicity’s sake, but the Court notes
that some of the foregoing findings are also conclusions of law. Similarly, the
“conclusions of law” section contains some findings of fact.
10 Both this Court and the Eleventh Circuit have previously exercised subject matter
jurisdiction over this case. See Doc. No. [298] (indicating that the record as supplemented
on appeal, combined with the notice of removal and second amended complaint
established diversity-based subject matter jurisdiction). Other evidence of citizenship of



                                            5
        Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 6 of 96




       B.     Mr. Andrews died in a collision on April 12, 2013.

       On April 12, 2013, Mr. Andrews left work at the Georgia Aquarium and

headed to his home in Woodstock, Georgia. See Doc. No. [503], ¶ 12. He was

driving his 2005 Mazda3. Id. His route home took him north on Interstate 575 and

through Cobb County. The speed limit on I-575 North was 65 mph and

Mr. Andrews was traveling around that speed on the four-lane divided interstate

just before the fatal collision. Id. ¶ 2.

       While traveling in the right northbound lane, Mr. Andrews came up behind

a black Ford F-150. He changed lanes to pass the pickup truck. As he changed lanes

back into the right lane, Mr. Andrews engaged in a “hard right-hand steer

avoidance maneuver.” Buchner testimony, 10/5/21 AM Trial Tr. p. 39, lines 2–4.

The car left the interstate, crossed the paved shoulder, and entered the grassy

shoulder. The grassy shoulder sloped away from the interstate and toward a

growth of trees.




the parties is found in the record. See Andrews testimony, 10/7/21 AM Trial Tr. p. 28,
lines 20–21 (stating “[w]e’re Georgians” and Mr. Andrews’s home was in Woodstock,
Georgia); PX 1138 (stating that Autoliv is headquartered Stockholm, Sweden and
incorporated in Delaware, United States).


                                            6
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 7 of 96




      Once the car left the interstate, the grassy shoulder and its cross slope made

it “very, very difficult” for Mr. Andrews to return his car to the roadway in the

remaining territory before encountering trees. Buchner testimony, 10/5/21 AM

Trial. Tr. p. 21, line 19–p. 22, line 2. Despite steering and braking to avoid a

collision, Mr. Andrews’s car struck three trees at about 35 mph. See Doc. No. [503],

¶¶ 3, 14. The impact’s principal direction of force was 10–15 degrees to the left of

straight ahead, roughly the 11:30 position on a clock. Id. ¶ 15. Although a frontal

collision at that speed should have caused the driver’s airbag to activate and

deploy, the airbag did not deploy. The airbag had been manufactured by Autoliv

and sold to Mazda for the 2005 Mazda3.

      Despite wearing his seatbelt properly, Mr. Andrews’s seatbelt spooled out

approximately 20 inches during the collision. Id. ¶¶ 1, 13, 17. Mr. Andrews’s face

struck the steering wheel and the steering wheel collapsed. Id. ¶¶ 4, 18.

Mr. Andrews’s face struck the steering wheel so hard and so fast that the impact

caused a basilar skull fracture and permanently imprinted the steering wheel’s

grip pattern onto his face. Compare PX 3 (steering wheel photo), with PX 2




                                         7
        Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 8 of 96




(medical examiner photo of Mr. Andrews’s face postmortem).11 The basilar skull

fracture led to the death of Mr. Andrews at the scene. Frist testimony, 10/4/21 AM

Trial Tr. p. 79, line 23–p. 80, line 1.

       Mr. Andrews was 38 years old at the time of his death. Doc. No. [503], ¶ 5.

Mr. Andrews had an additional life expectancy of 36.18 years. Id. ¶ 7. He is

survived by his widow, Jamie Andrews, and their daughter, S.C. Andrews, who

was four years old at the time of the wreck. S.C. was 12 years old at the time of

trial. Id. ¶ 6.

                  1.   Mr. Andrews was not at fault for his own injuries and death.

       Autoliv has contended that Mr. Andrews was at fault for his own death. But

what caused the wreck is not the issue in this case. The issue concerns whether the

seatbelt in Mr. Andrews’s 2005 Mazda3 failed to protect Mr. Andrews when the

wreck occurred as Mr. Andrews did not need a functioning seatbelt (for survival

purposes) until there was a wreck. Autoliv’s corporate representative

David Prentkowski admitted that “this case starts when the car hit those trees



11 A basilar skull fracture is “the most serious type of skull fracture, and involves a break
in the bone at the base of the skull.” Head Injury, JOHNS HOPKINS MEDICINE,
https://www.hopkinsmedicine.org/health/conditions-and-diseases/head-injury (last
visited Dec. 4, 2021). Plaintiff’s expert explained that the basilar skull is “right at your ear
level coming forward toward your nose and back.” Frist testimony, 10/4/21 AM, Trial
Tr. p. 84, lines 3–7.


                                               8
        Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 9 of 96




because that’s when the question arises, who is at fault for the airbag not working

and the seat belt not working.” Prentkowski testimony, 10/7/21 PM Trial Tr. p. 54,

lines 19–23. The Court finds that wrecks are foreseeable to Autoliv, that this

35-mph wreck was foreseeable to Autoliv, and that a driver does not need a

seatbelt (for survival purposes) unless there is a wreck.

       Furthermore, the parties agree that Mr. Andrews would have survived the

wreck if his occupant restraint system had functioned properly. See Doc. No. [531],

¶ 13.12 In other words, when Mr. Andrews’s Mazda3 went off the road and hit

three trees at 35 mph, death was not the likely result of his action. Thus,

Mr. Andrews was not the proximate cause of his own death.

       For the foregoing reasons, the Court finds that what caused the wreck itself

is irrelevant. However, the evidence did convincingly demonstrate that

Mr. Andrews left the road because of a sudden avoidance maneuver. There is no

evidence that Mr. Andrews was trying to hurt himself, nor is there any evidence



12There was testimony at trial that indicated that a vehicle’s occupant restraint system is
a made up of numerous different, but interrelated parts, including but not limited to the
vehicle’s airbags, seatbelts, seatbelt pretensioners, seat backs, steering wheel, and overall
interior design. Meyer testimony, 10/6/21 PM Trial Tr. p. 107, line 1–p. 108, line 10;
Prentkowski testimony, 10/7/21 PM Trial Tr. p. 5, lines 18–25; Van Arsdell testimony,
10/12/21 AM Trial Tr. p. 25, lines 15–25. There was also testimony that the primary
restraint in an occupant restraint system is the seatbelt. Caruso testimony, 10/6/21 AM
Trial Tr. p. 25, line 24–p. 26, line 1.


                                             9
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 10 of 96




that something went wrong with the car to cause it to go off the road.13

Mr. Andrews was awake and alert before the collision: he passed a Ford F-150

before he steered hard right and braked, and he continued to brake and steer his

car after it exited the interstate and before it struck the trees.

      The evidence shows it is likely that Mr. Andrews swerved to avoid a very

large turtle, some three feet in length. Shortly after the wreck happened, another

motorist on I-575 North called 911 and explained: “So I’m on 575 North and this

car was just, -- I mean, they, -- God. It was like a box or something in the road. I

went over it, but it scared them and they just literally took their car and veered full

speed ahead off the road.” PX 46, 911 Call, Tr. p. 2, lines 11–15.

      The Cobb County Police Department officers who investigated the collision

did not note the presence of a box at the scene. The officers did, however, confirm

that a large turtle had been run over on the interstate and was found dead on the

left shoulder of the road. Photos of the scene show that investigators documented

the turtle evidence by marking with green paint both the turtle’s final resting place

and a trail of its biological matter scattered along the interstate. See PXs 499, 526.




13 Weather played no role in Mr. Andrews’s collision. Doc. No. [503], ¶ 19. There was
also no evidence of alcohol or drugs playing a role in the collision.


                                           10
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 11 of 96




The medical examiner’s supplemental report notes that “an alligator snapping

turtle was in the roadway. It appears the decedent [Mr. Andrews] may have

swerved to miss the turtle.” PX 214 (ANDREWS 0174).

      Plaintiff’s accident reconstructionist, G. Bryant Buchner, a professional

engineer, inspected the collision location and analyzed the police photos of the

scene, including those marking the final resting place of the turtle and the trail of

turtle parts across the road. Mr. Buchner concluded that the start of the turtle’s

biological matter (i.e., where the turtle was run over) was near where Mr. Andrews

steered hard right in an avoidance maneuver. Mr. Buchner’s reconstruction

diagram14 also showed this. Considering all the physical evidence, Mr. Buchner

opined that the turtle’s presence on the road “just in front of the car when the

swerve began” was “probably” related to Mr. Andrews’s decision to hard steer to

the right and brake in an avoidance maneuver. Buchner testimony, 10/5/21 AM,

Trial Tr. p. 39, lines 6–14.15 Mr. Buchner’s opinion about the turtle’s role in the




14 The diagram was not admitted into evidence, but it was used for demonstrative
purposes without objection from Defense Counsel. See Buchner testimony, 10/5/21 AM,
Trial Tr. p. 48, lines 12–15.
15 The Court recognizes that there is evidence that the Cobb County Police Department
Selective Traffic Enforcement Program (“STEP”) investigators said they believed that
turtle was unrelated to the collision. See Rogers testimony, 10/7/21 PM Trial Tr. p. 58,



                                          11
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 12 of 96




collision was asserted to “a reasonable degree of scientific certainty.” Id. at p. 49,

line 20–p. 50, line 4.

       Autoliv did not present a reconstructionist engineer at trial. Instead,

Autoliv called as its witness, former Cobb County Police Officer, William Rogers,

to testify about his role in investigating Mr. Andrews’s collision.

       The Court finds that Mr. Rogers’s testimony was not credible in part as he

denied that the speed of the car on impact with the trees was 35 mph—which is

something Autoliv had stipulated to as fact prior to trial. Doc. No. [503], ¶ 3.

Mr. Rogers also denied that Mr. Andrews had braked or steered after leaving the

roadway; however, he had no explanation for how the car could go from interstate

highway speeds down a steep incline and hit the trees at only 35 mph without

braking and steering. Mr. Rogers’s opinions were not based on a forensic analysis

of the scene and consideration of all the evidence. Rogers testimony, 10/7/21 PM

Trial Tr. p. 75, line 7–25. Accordingly, the Court gives no weight to Mr. Roger’s

opinions and the portions of his testimony that were not credible.




lines 13–25. However, the Court gives more weight to Mr. Buchner’s opinions as his
investigation was more forensically and scientifically detailed.


                                         12
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 13 of 96




             2.     Mr. Andrews was alive and conscious for more than four
                    minutes after the collision.

      William Kemp was driving the black F-150 pickup truck that Mr. Andrews

passed just before he swerved to the right and braked in an avoidance maneuver.

Mr. Kemp saw Mr. Andrews’s car leave the road. Concerned, Mr. Kemp pulled

over to check on the driver. When he got to the wrecked car, Mr. Andrews was

sitting in the driver’s seat with his seatbelt still on, but the seatbelt had spooled out

so much that Mr. Andrews’s head and body were draped over the center console

and into the passenger seat. Mr. Andrews’s head was dripping blood, which had

filled the cup holders in the center console.

      Mr. Kemp vividly remembered what happened next. He described

Mr. Andrews trying to respond to a question from Mr. Kemp by groaning and

trying to raise his body. At trial, Mr. Kemp testified as follows:

      Q. Mr. Kemp, when you opened the door, what did you see?

      A. I saw a man bleeding from his head leaning over across the center
      console, head over the passenger seat bleeding badly.

      Q. And so his butt was in the driver’s seat; correct?

      A. That is correct.

      Q. And can you show us how he was positioned in the driver seat?

      A. Yes. (Witness indicates.)



                                           13
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 14 of 96




      Q. So his head was actually leaned over into the passenger seat?

      A. That’s correct.

      Q. And what did -- did you say anything to Mr. Andrews?

      A. At first I asked if he was okay, and then he kind of tried to raise up
      and he got out, like, a groan. And I told him not to speak, not to move,
      that help was on the way.

Kemp testimony, 10/4/21 AM Trial Tr. p. 65, lines 13–25. That interaction with

Mr. Andrews, which Mr. Kemp vividly recalled, occurred after Mr. Kemp pulled

his pickup truck off the road, spent four minutes and twelve seconds on the phone

with the 911 dispatcher, and had run to Mr. Andrews’s car. PX 45; Kemp

testimony, 10/4/21 AM Trial Tr. p. 65, lines 3–5.

      Dr. Brian Frist, the former medical examiner of Cobb County, an

independent pathologist who completed more than 10,000 autopsies and

post-mortem examinations in his career, gave unrebutted testimony that

Mr. Kemp’s description of his interaction with Mr. Andrews was consistent with

Mr. Andrews being conscious. Frist testimony, 10/4/21 AM Trial Tr. p. 84,

line 21–p. 85, line 10. The evidence thus shows that Mr. Andrews was alive and

conscious from the time of the collision until after Mr. Kemp pulled off the road,

stopped his car, finished his 911 call, and then went to Mr. Andrews’s car.




                                         14
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 15 of 96




      After Mr. Kemp saw Mr. Andrews’s response, Officer Aaron Porter arrived

at the scene. At that time, Officer Porter had been with the Cobb County Police

Department for over seven years. Before joining the Cobb County Police

Department, he was a corporal in the Marine Corps for four years and served two

tours of duty overseas, including Operation Iraqi Freedom. He testified that

between his combat and law enforcement experience, he had witnessed roughly

fifty people die before Mr. Andrews. When he arrived at the scene, it took Officer

Porter about thirty seconds to get to the car. After he reached the car, Officer Porter

observed Mr. Andrews take his last two breaths, which Officer Porter described as

“breathing agonally.” Porter testimony, 10/4/21 PM Trial Tr. p. 90, lines 2–15.

Officer Porter testified that he was the last person to see Mr. Andrews alive. Id. at

p. 100, lines 16–18.

      C.     The occupant restraint system in Mr. Andrews’s car was defective.

      Mr. Andrews’s 2005 Mazda3 had a defective occupant restraint system.

While as indicated above, the evidence at trial showed that there are multiple parts

to a car’s occupant restraint system, the evidence also showed that the two

principal parts of a car’s occupant restraint system are: seatbelts and airbags. After

review, the Court concludes that both the airbag system and the driver’s seatbelt

in Mr. Andrews’s 2005 Mazda3 were defective.



                                          15
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 16 of 96




      The seatbelt of an automobile is indisputably the primary safety restraint

system. Autoliv’s own documents prove that fact, and Autoliv’s hired seatbelt

expert William Van Arsdell, Ph.D., admitted that fact. Van Arsdell testimony,

10/12/21 AM Trial Tr. p. 113, lines 1–3; PX 1. Both Autoliv engineers who testified

at trial—corporate representative David Prentkowski and seatbelt engineer

Yuji Kamei—refused to admit that the seatbelt was the primary safety device in

the car. By law and in fact, an airbag is a “supplemental restraint system”—i.e.,

supplemental to the seatbelt. See 49 C.F.R. § 571.208(f)(1) (describing information

to appear in owner’s manual and stating that “air bag is a supplemental

restraint.”); see also PX 61A. Autoliv labels their airbags as such. See PX 1163,

Kamei testimony, p. 23, lines 21–22.

      In this wreck the airbag failed to deploy. That airbag module was designed,

manufactured, and sold by Autoliv. Doc. No. [503], ¶ 32. However, the airbag

electronic front sensor system that directs the airbag to deploy was not designed

and manufactured by Autoliv—it was supplied by Bosch in accordance with

Mazda’s specification.16 See Caruso testimony, 10/6/21 AM Trial Tr. p. 90, lines



16A specification is “a detailed document or set of documents that define the engineering
object.” Van Arsdell testimony, 10/12/21 AM, p. 43, lines 19–25. Defendant’s expert
described the purpose of the specification as follows: “[i]t’s the way that Mazda



                                           16
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 17 of 96




1–6; p. 115, lines 4–16. The sensor system failed to send a signal to the airbag to

deploy. That airbags sometimes do not deploy was indisputably known to, and

foreseen by, Autoliv—as Autoliv’s corporate representative Mr. Prentkowski

admitted. See Prentkowski testimony, 10/7/21 PM Trial Tr. p. 52, lines 15–17 (“Q.

Isn’t it true that it was foreseeable to Autoliv that this airbag might not deploy. A.

Yes.”). Airbags can fail in many situations, all of which (prior to the subject

collision) were foreseeable to airbag companies, which includes Autoliv, a

manufacturer of airbags. Caruso testimony, 10/6/21 AM Trial Tr. p. 34, lines 6–14.

       It was also foreseeable to Autoliv that if the Autoliv airbag in Mr. Andrews’s

2005 Mazda3 did not deploy in this wreck the Autoliv seatbelt, which spools out

20 inches, would fail to keep Mr. Andrews’s head from striking the steering wheel.

Further, Autoliv’s corporate representative admitted that not only was the seatbelt

manufactured and designed so that it was capable of spooling out 20 inches, but

also that Autoliv knew that the seatbelt was going to spool out 20 inches if




communicates their design to Autoliv in such a way that Autoliv can supply exactly what
Mazda wants.” Id. at p. 44, lines 7–12. There was also testimony at trial that also referred
to the specification as an “engineering specification” or a “design specification.” See e.g.,
Prentowski testimony, 10/4/21 PM, p. 73, line 4; p. 75, lines 14–18. Plaintiff’s Exhibit 35
was also labeled an “Engineering Specification.” PX 35.


                                             17
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 18 of 96




deployment of the airbag did not stop the spool out. Prentkowski testimony,

10/4/21 PM Trial Tr. p. 22, lines 11–19; p. 23, lines 12–14.

      For the driver of a car, the primary duty of a seatbelt is to keep the driver

from slamming into interior components (like the steering wheel) so hard that

there is a permanent fatal injury. See Meyer testimony, 10/6/21 PM Trial Tr. p. 48,

lines 19–22 (“Q. What is the whole job of the seatbelt? A. The seatbelt is to prevent

the occupant from slamming into interior components like the steering wheel so

hard that it creates a permanent or a fatal injury.”).

      But Autoliv’s corporate representative admitted that Mr. Andrews’s seatbelt

“failed” when “[l]acking an airbag” and did not provide “sufficient restraint.”

Prentkowski testimony, 10/7/21 PM Trial Tr. p. 51, line 23–p. 52, line 3;

Prentkowski testimony, 10/4/21 PM Trial Tr. p. 42, line 25–p. 43, line 5. Autoliv’s

corporate representative also admitted that Mr. Andrews’s seatbelt was “useless”

to Mr. Andrews. Prentkowski testimony, 10/4/21 PM Trial Tr. p. 17, lines 8–15.

      Autoliv’s corporate representative further admitted that Autoliv did

nothing to warn Mazda, or any consumers, that if the airbag failed to deploy the

driver would be effectively unrestrained and his head could strike the steering

wheel with fatal force. Id. at p. 33, lines 3-16; 10/7/21 PM Trial Tr. p. 56, lines 7–9.




                                          18
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 19 of 96




       Despite Autoliv’s knowledge that airbags sometimes do not deploy in

frontal collisions, Autoliv sold a seatbelt to Mazda that would not keep the driver’s

head from hitting the steering wheel with fatal force in a foreseeable collision.

       Autoliv knew how to design and build a safer seatbelt. In fact, Autoliv

admits that before it sold the subject seatbelt to Mazda it had already designed and

manufactured another seatbelt that would not allow so much spool out.17

             1.     The airbag system in Mr. Andrews’s car was defective.

       The Autoliv airbag in Mr. Andrews’s car did not deploy in the April 12, 2013

collision.

       The airbag system in Mr. Andrews’s car was complex and comprised of

many different products including: (1) the airbag itself, located in the steering

wheel; (2) the car’s computer diagnostic unit located under the car’s center console,

which Mazda calls the “supplemental airbag system” or “SAS” unit; (3) the

upfront sensor (“UFS,” also known as the electronic front sensor (“EFS”)), a single

sensor located behind the car’s front grill that is supposed to detect a frontal impact



17 See Doc. No. [503], ¶ 26 (“At the time Autoliv sold Mazda the seatbelt in
Mr. Andrews’s car, Autoliv had manufactured another seatbelt retractor with a load
limiting threshold higher than the one in Mr. Andrews’s seatbelt.”), ¶ 29 (“The seatbelt
assembly that Autoliv supplied to Volvo for the driver’s seat of the 2004 through 2009
model year Volvo S40 had a torsion bar with a deployment threshold of 6.0
kilonewtons.”).


                                          19
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 20 of 96




and send a deploy/no deploy signal to the SAS; (4) the wiring running from the

SAS to the UFS and from the SAS to the airbag module and pretensioners;

(5) sensors for the driver seat track position, seatbelt buckles, and passenger seat

weight; and (6) warning lamps. See Caruso testimony, 10/6/21 AM Trial Tr. p. 34,

line 17–p. 35, line 23.

      The airbag system in Mr. Andrews’s car was defective. The sensor behind

the car’s front grill was supposed to transmit information about the collision’s

severity to the car’s diagnostic computer. Id. at p. 44, lines 18–24. It did not do so

because the sensor’s connector became disconnected before the collision

information was sent. Id. That in turn meant the diagnostic computer did not send

a signal to the driver’s airbag to deploy. Id.

      Plaintiff’s expert clarified that while it was Bosch’s airbag electronic front

sensor system component that ultimately caused the non-deployment of the

airbag, “it was the connector and the wire connected to that sensor that failed, not

the sensor itself.” Id. at p. 88, lines 10–13. He further testified that “if the wire had

not been cut, the system was designed reasonably well, it would have deployed

the airbags.” Id. at lines 18–22. He also testified that the fault for the wire getting

cut and the sensor coming apart “was a combination of Mazda’s decision on how




                                           20
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 21 of 96




to route the wire and the decision to use this substandard connector,” which

Plaintiff’s expert garnered was a Mazda decision. Id. at line 23–p. 89, line 5.

      There appears to be no dispute that Mazda Motor Corporation and Mazda

Motor of America, Inc. (collectively, “Mazda”) were responsible for the sensor

system that Bosch supplied, though the parties dispute how much fault Mazda

and Bosch should bear. See Def. Proposed Findings, Doc. Nos. [530], 18; [531],

¶¶ 40–53; see also Def. Closing Argument, Trial Tr. p. 75, lines 23–25. Mazda

settled with Plaintiff in June 2016 and thus took no part in the bench trial. The

multiple Bosch defendants were dismissed prior to trial for various reasons to

include: lack of personal jurisdiction, amendment of the complaint, and consent

motion to dismiss. Doc. Nos. [90]; [106]; [131].

                   i.     Autoliv designed and manufactured the seatbelt.

      Autoliv, its parent company Autoliv, Inc., and its sibling companies (almost

all of which, like Autoliv, are wholly owned subsidiaries of Autoliv, Inc.) are in

the business of designing, manufacturing, and selling seatbelts, airbags, and other

automotive safety equipment. See PX 1138 at 3–5 (Autoliv 2020 Annual Report

stating that Autoliv is “The World’s Largest Automotive Safety Supplier”);

PX 1139A SEC 10-K Filing (stating that “Autoliv is a leading developer,

manufacturer and supplier of safety systems to the automotive industry. The



                                         21
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 22 of 96




Company has a broad range of product offerings, primarily passive restraint

systems”); see also Doc. No. [503], ¶ 11 (“The defendant in this case, Autoliv, is a

manufacturer of components used in cars made by many automakers.”). Autoliv

sells its products to all major car manufacturers. PX 1138 at 5.

      The seatbelt at issue has several parts, but its basic design is illustrated by

the following graphic:




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       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 23 of 96




PX 1059. 18 Autoliv’s corporate representative David Prentkowski admitted that

this graphic is “accurate.” Prentkowski testimony, 10/7/21 PM Trial Tr. p. 73,

lines 2–4. Mr. Prentkowski also admitted that the retractor is the “heart” of the

seatbelt in that it is the part responsible for the webbing’s spool out. Id. at p. 74,

lines 10–18.

      The undisputed evidence shows that Autoliv designed the R27LL retractor

and the torsion bar for the seatbelt at issue in this case. Doc. No. [503], ¶ 28. Those

were the specific components that caused Mr. Andrews’s seatbelt to spool out

20 inches in the collision. The undisputed evidence also proved that the design of

those components was completed five or six months before Autoliv was asked by

Mazda to begin any work on the type of car Mr. Andrews was driving, known

internally at Mazda as the J48C.19 Compare PX 74 (design document for R27LL

retractor showing “Completion date: 14/06/1999”), and PX 7 (torsion bar design




18 To describe the safety device that Autoliv made and which Mr. Andrews was using to
secure himself into the driver’s seat, the terms “seatbelt” and “seatbelt assembly” were
used at trial. As used in the federal regulations, the term “seat belts” “includes the
webbing, buckle, anchorage, retractor, belt pretensioner devices, load limiters, and all
components, hardware and software associated with an automatic or manual seat belt
system addressed by FMVSS No. 209 or 210.” 49 C.F.R. § 579.4(c).
19The parties stipulated that J48C was the internal designation code for the 2004 through
2005 Mazda3. Doc. No. [503], ¶ 10. The parties also stipulated that J48L was the internal
designation code for the 2007 through 2009 Mazda3. Id. at ¶ 31.


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      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 24 of 96




drawing showing that first iteration of the torsion bar’s design drawing created in

February 1998), with PX 40 (J48C development scheduling showing “Platform

Kick-off” in November or December 1999); see also Prentkowski testimony,

10/7/21 PM Trial Tr. p. 72, lines 19–22 (admitting that the R27LL retractor’s design

was completed at least five months before Mazda asked Autoliv to do any work

for the Mazda3).

      The Autoliv seatbelt spooled out 20 inches because of the torsion bar in the

seatbelt’s retractor.20 See Meyer testimony, 10/6/21 PM Trial Tr. p. 37, lines 3–25.

Torsion bars are a type of load limiter and are intended to avoid belt-induced

injuries, like broken ribs. See Doc. No. [503], ¶ 22. Load limiters come in a variety

of designs, though torsion bars are the most common type. The load limiter in the

Autoliv seatbelt was a torsion bar, a metal bar around which the seatbelt webbing

is wrapped. Id. ¶ 23. In a wreck, the torsion bar twists and allows seatbelt webbing

to spool out. Id. ¶ 21. How easily a torsion bar twists and allows webbing to spool

out depends on its deployment threshold (i.e., strength). Id. ¶ 25.




20The seatbelt retractor holds the unused seatbelt webbing and contains the locking
mechanism that prevents spool out in an emergency stop. Doc. No. [503], ¶ 20.


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       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 25 of 96




      The Autoliv seatbelt in Mr. Andrews’s car had a torsion bar with a “lower-

than-low” deployment threshold (2.0 kN) and no “stop” limiting the amount of

webbing that could spool out in a wreck. PXs 20, 74; Doc. No. [503], ¶ 27;

Prentkowski testimony, 10/7/21 PM Trial Tr. p. 75, lines 8–20 (admitting that

2.0 kN torsion bar in Mr. Andrews’s car was “lower than low” compared to the

R27LL retractor sheet stating that low was “2,5”).21

      Plaintiff’s seatbelt expert, Mr. Steven Meyer, testified that the resistance

provided by the torsion bar left Mr. Andrews “effectively unrestrained.” Meyer

testimony, 10/6/21 PM Trial Tr. p. 63, lines 20–22. He further testified that the

seatbelt “didn’t provide any meaningful restraint” and “it wasn’t the seatbelt that

stopped [his forward movement in the collision], it was the steering wheel and the

dashboard.” Id. at p. 63, line 20–p. 64, line 2.




21
   To clarify, the “lower-than-low” description is comparing the seatbelt actually
installed in Mr. Andrews’s 2005 Mazda3 to Autoliv’s product/retractor sheet describing
the “low” version of its seatbelt. See PX 74. There was also evidence at the trial that in
Europe and Japan, a comma is used like a period is used in the United States. Meyer
testimony, 10/6/21 PM Trial Tr. p. 147, lines 9–13. And the “2,5” number should be read
as “2.5” for purposes of this case. Prentkowski testimony, 10/7/21 PM, Trial Tr. p. 76,
lines 1–16. In addition, PX 35 showed Mazda’s seatbelt specification as a 2.0 ± 0.5 kN
torsion bar for driver seatbelt in the 2004–2005 Mazda3, which means “anywhere from
1.5 to 2.5.” Meyer testimony, 10/6/21 PM Trial Tr. p. 145, lines 11–14.


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      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 26 of 96




      Autoliv’s own corporate representative admitted that the seatbelt was

“useless” to Mr. Andrews. Prentkowski testimony, 10/4/21 PM Trial Tr. p. 17,

lines 8–10.

      In Mr. Andrews’s April 12, 2013 collision, the Autoliv seatbelt spooled out

nearly 20 inches of webbing—not because of product misuse or unforeseen

circumstances, but because of the way it was designed and manufactured.

      The photos below illustrate 20 inches of spool out.




PXs 209, 894.

      Seatbelt manufacturers, such as Autoliv, know that 35-mph frontal

collisions into fixed objects, like Mr. Andrews’s collision, happen in the real world.

Mr. Andrews’s collision was foreseeable to Autoliv. Meyer testimony,

10/6/21 PM Trial Tr. p. 50, line 25–p. 51, line 2. A 35-mph frontal crash test is done

to assess the performance of occupant restraints in the United States government’s

New Car Assessment Program (“NCAP”). Id. at 29, line 20–p. 30, line 19. The

                                         26
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 27 of 96




seatbelt Autoliv designed, manufactured, and sold for use in 2005 Mazda3 cars

like Mr. Andrews’s car underwent the NCAP test. In that crash test for the

2004 Mazda3,22 the Autoliv seatbelt spooled out 16.85 inches—nearly twice as

much as any other car in the same class of cars as the Mazda3. See PX 9. Plaintiff’s

seatbelt expert also testified that after reviewing video of the NCAP test for the

Mazda3, it was his belief that even with the airbag and seatbelt on, the dummy’s

head was going through the airbag and hitting the steering wheel. Meyer

testimony, 10/6/21 PM Trial Tr. p. 55, line 10–p. 56, line 1.

       The undisputed evidence shows that in terms of providing restraint and

preventing an occupant’s forward movement toward structures inside the car, the

Autoliv seatbelt in Mr. Andrews’s car was by far the worst—an extreme outlier.

Id. at p. 43, line 17–p. 45, line 15. Plaintiff’s seatbelt expert, Mr. Meyer, testified that

the seatbelt was “weak,” allowed a “gross amount of pay-out,” and was “literally

the lowest” kilonewton bar seatbelt he had “ever seen” in his thirty years of

investigating car crashes. Id. at p. 64, lines 5–16.




22The crash test actually involved the 2004 Mazda3; however, the 2004 Mazda3 is the
same as Mr. Andrews’s 2005 Mazda3. Ziejewski testimony, Trial Tr. p. 32, lines 7–10.


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       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 28 of 96




      As the designer and manufacturer of Mr. Andrews’s seatbelt, Autoliv is

responsible for the defects in the seatbelt.

                    ii.    Autoliv could have limited the amount of spool out by
                           using one of three alternative designs.

      According to Plaintiff’s seatbelt expert, Mr. Meyer, there are alternative

designs that would prevent a seatbelt from spooling out 20 inches in a 35-mph

crash. Meyer testimony, 10/6/21 PM Trial Tr. p. 70, lines 6–18. More specifically,

Autoliv had available at least three alternative, feasible seatbelt designs that would

keep occupants from slamming into the structures inside the car.

      First, Autoliv could have increased the strength of the load limiter, making

it harder for the seatbelt to spool out 20 inches. In fact, at the time Autoliv sold the

subject seatbelt to Mazda Autoliv had already designed and manufactured a

seatbelt with a torsion bar nearly twice as strong as the one in the 2005 Mazda3.

See Doc. No. [503], ¶ 26 (“At the time Autoliv sold Mazda the seatbelt in

Mr. Andrews’s car, Autoliv had manufactured another seatbelt retractor with a

load limiting threshold higher than the one in Mr. Andrews’s seatbelt.”).

      Second, Autoliv could have used an even better seatbelt. Autoliv provided

the seatbelt for the 2004-2009 model year Volvo S40, a car built on the same




                                          28
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 29 of 96




platform as the 2005 Mazda3.23 The Autoliv seatbelt in the 2004-2009 Volvo S40

used a 6.0 kN deployment threshold, three times as strong as the 2005 Mazda3’s

seatbelt. Doc. No. [503], ¶ 29. This is a significant difference because all else being

equal, a higher deployment level or a stronger torsion bar results in less spool out.

Meyer testimony, 10/6/21 PM Trial Tr. p. 37, lines 19–22, p. 63, lines 18–19. In

NCAP tests, the 2004-2009 Volvo S40 had 10 inches fewer of spool out than the

2004 Mazda3. See PX 9.

      Third, Autoliv could have put a stop on the load limiter to limit the amount

of belt that could spool out. When the 2005 Mazda3 was designed and

manufactured, Autoliv actually had available a seatbelt retractor that included a

stop, which would limit the amount of belt webbing that could spool out in a

wreck. Meyer testimony, 10/6/21 PM Trial Tr. p. 73, line 13–p. 74, line 4.

      Plaintiff’s biomechanics expert testified that all these alternative designs

were safer and would have prevented or mitigated Mr. Andrews’s interaction with




23 “Platform means the basic structure of a vehicle including, but not limited to, the
majority of the floorpan or undercarriage, and elements of the engine compartment. The
term includes a structure that a manufacturer designates as a platform. A group of
vehicles sharing a common structure or chassis shall be considered to have a common
platform regardless of whether such vehicles are of the same type, are of the same make,
or are sold by the same manufacturer.” 49 C.F.R. § 579.4.


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      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 30 of 96




the steering wheel. Ziejewski testimony, 10/5/21 PM Trial Tr. p. 116, line 1–p. 117,

line 2. In opposition, Defendant presented the testimony of its own biomechanics

expert, Dr. Elizabeth Raphael. 10/12/21 Trial Tr. pp. 4–55.

      D.     Autoliv knew about the defects in its seatbelt years before
             Mr. Andrews’s death but did nothing to prevent it.

      Autoliv’s role was not limited to designing and manufacturing the seatbelt.

Autoliv was obligated to work directly with Mazda to address defects in the

seatbelt, like the excessive spool out problem with Mr. Andrews’s seatbelt under

their Statement of Work.24 PX 11 at 1; Caruso testimony, 10/6/21 AM Trial Tr.

p. 62, line 2–p. 65, line 7; Meyer testimony, 10/6/21 AM Trial Tr. p. 82, lines 5–18.

But there is no evidence that the defect was ever fixed for the 2005 Mazda3.

      Under the Statement of Work and according to Plaintiff’s expert,

Mr. Caruso, Autoliv had the authority and duty to propose design changes and

improvements to the seatbelt and seatbelt technology in Mr. Andrews’s car.

Caruso testimony, 10/6/21 AM Trial Tr. p. 62, line 2–p. 65, line 7. One of Autoliv’s

design change suggestions involved changing the torsion bar in the seatbelt from




24The Statement of Work “is provided to the supplier by the [original equipment
manufacturer], and it, basically, outlines what the tasks and what the requirements are
going to be in the relationship.” Caruso testimony, 10/6/21 AM Trial Tr. p. 62, lines
12–16.


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       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 31 of 96




a digressive load limiter to a regular load limiter—a change that reduced the

strength of the torsion bar. See Meyer testimony, 10/6/21 PM Trial Tr. p. 84, line

22–p. 88, line 10; PXs 372, 49 (AUTOLIV01051).

       Autoliv presented no evidence at trial that it ever proposed changes to the

seatbelt at issue that would have made it safer. Nor did Autoliv offer any evidence

that it ever advised Mazda to use a safer seatbelt to protect vehicle occupants.

Autoliv’s corporate representative testified as follows: “Mazda was not concerned,

so we [Autoliv] weren’t concerned.” Prentkowski testimony, 10/4/21 PM Trial Tr.

p. 34, line 5.

       Autoliv was responsible for reviewing and studying the data from testing

done by Mazda. In January 2002, a Mazda employee wrote to Autoliv that he had

analyzed the computer modeling of the crash performance of the Mazda3 at issue

in an offset deformable barrier test and stated that the “target was not obtained,

bottoming of the head occurred on the [steering wheel].” PX 128.25 Plaintiff’s

expert described “bottoming” as “hitting something rigid.” Ziejewski testimony,




25That modeling evaluated the very seatbelt Autoliv sold Mazda for use in
Mr. Andrews’s car. PX 128.


                                        31
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 32 of 96




10/5/21 PM Trial Tr. p. 122, lines 10–15.26 Autoliv thus knew then—in

January 2002—that the dummy’s head was “bottoming” on the steering wheel. Id.

Mazda asked Autoliv for help coming up with a solution. PX 128. Autoliv

presented no evidence that it ever provided any such help.

       Later in 2002, Autoliv had internal discussions about the fact that the

restraint system in the Mazda3 at issue was not meeting its crash test performance

targets. Autoliv knew that Mazda needed to make changes to the seatbelt and a

“Business Team Update” document shows that Mazda “intended to change to [a]

higher load level, implement digressive load limiters or retractor pretensioners

instead of [the] R27LL.” PX 126. Autoliv presented no evidence that it ever advised

Mazda to make such changes.

       In May 2003, months before Autoliv began full-scale production of the

seatbelt it sold to Mazda for the 2005 Mazda3, Autoliv performed sled testing.27

PX 15. That sled testing simulated a frontal collision at 31 mph in which an airbag

did not deploy. In Autoliv’s two sled tests using a seatbelt like the one in




26Another expert testified that bottoming is “very bad, because head injuries are a very
nebulous thing.” Caruso testimony, 10/6/21 AM Trial Tr. p. 72, line 7.
27 Sled testing is performed by mounting part of the car’s interior (usually the seat and
the seatbelt system) on a “sled,” accelerating it, and then stopping it to recreate the forces
in a frontal collision. Van Arsdell testimony, 10/12/21 Trial Tr. pp. 8–9.


                                             32
         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 33 of 96




Mr. Andrews’s car, the dummy experienced 15.4 inches of chest movement in a

31-mph frontal collision. Id.; Ziejewski testimony, 10/5/21 PM p. 35, lines 24–25.

The 15.4 inches was “more inches than the occupant had space before [the

occupant] hit the steering wheel.” Id. at 36, lines 1–4. Autoliv therefore knew,

before it sold the seatbelt at issue to Mazda, that the seatbelt would spool out

excessively in a frontal collision for which the airbag failed to deploy.

         Despite knowing that the seatbelt allowed a dangerous amount of spool out

and would not restrain a driver in foreseeable collisions, Autoliv did nothing to

improve the seatbelt’s performance. Nor did Autoliv ever tell Mazda that it should

buy a different, better seatbelt. Autoliv admitted it did not have to sell the seatbelt

to Mazda, Prentkowski testimony, 10/7/21 PM Trial Tr. p. 46, line 24–p. 47, line 1,

yet it sold the seatbelt knowing it was defective.

         Shortly after Mr. Andrews’s 2005 Mazda3 was manufactured, Autoliv

designed and sold Mazda a seatbelt with a much stronger torsion bar. See PX 35

(3.5 ± 0.9 kN torsion bar specification).

         To recap, here is the chronology of events.

 August 1997         Autoliv GmbH completes initial drawing of torsion bar later used
                     in the 2005 Mazda3 seatbelt.28



28   PX 7.


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         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 34 of 96




 June 1999             Autoliv completes the design of the R27LL retractor, which is the
                       “heart” of the 2005 Mazda3 seatbelt.29
 December 1999         Mazda kicks off development of the Mazda3 platform.30

 December 2001         Autoliv sends Mazda a VA/VE suggestion to change from a
                       digressive load limiter to a regular load limiter. This change made
                       the seatbelt weaker and less safe. Autoliv’s corporate
                       representative testified that VA/VE suggestions were only about
                       “cost reductions.”31
 January 2002          Mazda sends email to Autoliv notifying Autoliv about dummy
                       heads bottoming32 on the steering wheel and asking Autoliv for
                       assistance with the problem.33 Autoliv presented no evidence that
                       it ever offered any assistance or advice.
 November 2002 An Autoliv document from a business team update shows that
               Autoliv knew that Mazda was having trouble making its NCAP
               targets based on its testing.34
 May 2003              Autoliv runs a sled test on the seatbelt in the 2005 Mazda3; no
                       airbag is included in this sled test. The test shows that seatbelt
                       allowed the dummy’s chest to move forward 15.4 inches.35




29   PX 74; Prentkowski testimony, 10/7/21 PM Trial Tr. p. 74, lines 10–15.
30   PX 40.
31 PXs 49, 372; Meyer testimony, 10/6/21 PM Trial Tr. p. 84, line 22–p. 88, line 10;
Prentkowski testimony, 10/7/21 Trial Tr. p. 34, lines 3–11.
32 Plaintiff’s expert described “bottoming” as “hitting something rigid.” Ziejewski
testimony, 10/5/21 PM Trial Tr. p. 122, lines 10–15.
33   PX 128.
34   PX 126.
35   PX 15; Ziejewski testimony, 10/5/21 PM Trial Tr. p. 33, line 12–p. 35, line 25.


                                              34
          Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 35 of 96




 December 2003           The NCAP test shows that the Autoliv seatbelt in the driver’s side
                         spooled out 16.85 inches while the passenger side spooled out 22.4
                         inches.36 That amount is twice as much as the other cars in the
                         Mazda3’s class.37
                         This test also shows that the driver’s seatbelt spooled out farther
                         then the distance between the dummy’s chest and the steering
                         wheel (13.0 inches versus 16.85 inches).38
                         This test also shows that the passenger seatbelt spooled out farther
                         than the distance between the dummy’s chest and the dashboard
                         on the passenger side (21.9 inches versus 22.4 inches).39
 January 2005            The driver’s seatbelt specification for the 2006 Mazda3 was
                         changed to include a stronger 3.5 kN torsion bar.40

         At trial, Plaintiff’s expert witness Mr. Caruso explained that automotive

suppliers have a duty of “due care.” Caruso testimony, 10/6/21 AM Trial Tr. p. 48,

line 19–p. 49, line 9. Under this duty, manufacturers of automotive component

parts should not design their products to simply satisfy the federal regulations,

but rather should make sure that their products (and the systems those products

are used in) are designed to work for foreseeable real world collisions. Id. at p. 82,

lines 4–10. Mr. Caruso testified that manufacturers must make sure that their




36   PX 9; 160.
37   PX 9.
38   Meyer testimony, 10/6/21 PM Trial Tr. p. 78, line 12–p. 79, line 4.
39   Id. at p. 79, line 5–p. 80, line 5.
40   PX 372; Meyer testimony 10/6/21 PM Trial Tr. p. 129, lines 6–19.


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         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 36 of 96




products work in the real world and not just on the required tests. Id. at p. 31, lines

15–18.

         Due care, Mr. Caruso explained, requires suppliers to share their superior

knowledge about their products and how they perform with the automaker with

the goal of getting the system to work right in the real world. Id. at p. 48,

line 19–p. 49, line 9. Mr. Caruso further stated: “[d]ue care means I’m going to let

you      [the   automaker]   know   that    I’m   concerned    [as   the   component

manufacturer/supplier] and let’s talk about a possible resolution.” Id. at p. 54,

lines 9–10. Mr. Caruso also expressed a belief that it is industry standard for a

component manufacturer to inform the automaker of problems and work with the

automaker to solve those problems. Id. at p. 59, lines 1–8.

         Mr. Caruso testified that Autoliv did not meet its duty of due care after

learning that dummies’ heads were bottoming on the steering wheel in crash tests

and simulations, based on the records produced—as there was no document

produced at trial that showed that Autoliv shared its expertise about how to solve

the bottoming problem with Mazda or raised a “red flag” about the bottoming

problem with Mazda. Id. at p. 53, line 21–p. 54, lines 1–10; p. 78, line 22–p. 79,

line 22.

         Autoliv produced no evidence at trial that contradicted Mr. Caruso’s


                                           36
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 37 of 96




testimony. There was also no evidence presented at trial that showed that Autoliv

ever warned anyone about the dangers of the seatbelt at issue, despite Autoliv

being fully aware of those dangers. 41

II.   CONCLUSIONS OF LAW

      A.     Autoliv is liable for Mr. Andrews’s injuries and wrongful death.

      To prevail on a claim for strict products liability under O.C.G.A. § 51-1-

11(b), Plaintiff had to prove that:

      (1)    Autoliv manufactured the seatbelt in Mr. Andrews’s
             2005 Mazda3;

      (2)    when sold, the Autoliv seatbelt was not merchantable and
             reasonably suited for its intended use (i.e., the Autoliv seatbelt
             was defective); and

      (3)    the Autoliv seatbelt was a proximate cause of Mr. Andrews’s
             wrongful death.

See Chicago Hardware & Fixture Co. v. Letterman, 236 Ga. App. 21, 24, 510 S.E.2d

875, 877–78 (1999). Plaintiff proved each of these elements; thus, Autoliv is liable

for Mr. Andrews’s injuries and death.




41The Court recognizes Defendant’s argument that it was not required to tell Mazda
about something that Mazda already knew. The Court will address said arguments, infra.




                                         37
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 38 of 96




             1.    Autoliv is the manufacturer of the seatbelt under Georgia
                   law.

      Georgia’s strict liability statute, O.C.G.A. § 51-1-11, “imposes strict liability

for defective products”—a product is “defective” when it is “not merchantable

and reasonably suited to the use intended.” Ctr. Chem. Co. v. Parzini, 234 Ga. 868,

869, 218 S.E.2d 580, 582 (1975). A product can be defective because of problems

with its manufacturing, design, or warnings. Banks v. ICI Ams., Inc., 260 Ga. 732,

733, 450 S.E.2d 671, 672 (1994).

      The Georgia strict liability statute “is in derogation of common law” and

thus “must be strictly construed or limited strictly to the meaning of the language

employed and not extended beyond [its] plain and explicit terms.” Daniel v. Am.

Optical Corp., 251 Ga. 166, 167, 304 S.E.2d 383, 385 (1983); Ford Motor Co. v. Carter,

239 Ga. 657, 658, 238 S.E.2d 361, 363 (1977). The strict liability statute does not

define “manufacturer,” so that term is given its plain meaning. See Hartford Fire

Ins. Co. v. iFreedom Direct Corp., 312 Ga. App. 262, 264, 718 S.E.2d 103, 106 (2011)

(interpreting statute in derogation of common law by “the plain meaning of the

language employed in the statute”); see generally O.C.G.A. § 1-3-1(b).




                                         38
         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 39 of 96




         Manufacturing and designing seatbelts are Autoliv’s business: it is the

world’s leading developer, manufacturer, and supplier of such products.42

Globally, Autoliv has a seatbelt market share of 44%.43 At trial, it was undisputed

that Autoliv manufactured Mr. Andrews’s seatbelt. Accordingly, Autoliv is the

manufacturer of the seatbelt under the plain meaning and the Georgia courts’

construction of the strict liability statute.

         At trial, Autoliv argued that Mr. Andrews’s seatbelt was “designed” by

Mazda. See Def. Closing Argument, 10/13/21 AM Trial Tr. p. 76, lines 1–11. But

when Autoliv’s corporate representative Mr. Prentkowski was asked directly

whether it was his sworn testimony that the seatbelt was “designed by Mazda,”

he stated that he could not give a “yes-or-no answer.” Prentkowski testimony,

10/4/21 PM Trial Tr. p. 64, lines 3–20. More importantly, neither Mr. Prentkowski

nor Autoliv’s seatbelt engineer, Yuji Kamei, identified any part of the seatbelt that

was specifically “designed by Mazda.” Thus, Autoliv’s claim that the seatbelt was

“designed by Mazda” is not reasonable in light of the testimony.




42   PX 1138.
43   PX 1139A, SEC 10-K Filing at 4.


                                            39
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 40 of 96




       Furthermore, in reversing the summary judgment entered in Autoliv’s favor

by a former judge of this Court, the Eleventh Circuit found that Autoliv was an

“actual manufacturer[]” that “manufactured” the subject seatbelt. See Doc. No.

[309] at 3 (“The ‘product seller’ provision expressly does not apply to actual

manufacturers such as Autoliv. . . . Autoliv manufactured seatbelt components in

the deceased’s Mazda and Plaintiff alleges that those components were defective

when sold.”). The Eleventh Circuit’s finding that Autoliv is the seatbelt’s

manufacturer for purposes of O.C.G.A. § 51-1-11 is binding on this Court under

the “specific application” of the law-of-the-case doctrine known as “the mandate

rule.” Piambino v. Bailey, 757 F.2d 1112, 1119 (11th Cir. 1985).44

       Because Autoliv is the manufacturer of the seatbelt, Autoliv is strictly liable

for any defects—whether in manufacturing, design, or warnings—in the seatbelt.




44 “Under the ‘law of the case’ doctrine, the findings of fact and conclusions of law by an
appellate court are generally binding in all subsequent proceedings in the same case in
the trial court or on a later appeal.” This That & The Other Gift & Tobacco, Inc. v. Cobb
Cnty., 439 F.3d 1275, 1283 (11th Cir. 2006) (quoting Heathcoat v. Potts, 905 F.2d 367, 370
(11th Cir. 1990)). The mandate rule “bars relitigation of issues that were decided either
explicitly or by necessary implication.” Id. The mandate rule “compels compliance on
remand with the dictates of the superior court and forecloses relitigation of issues
expressly or impliedly decided by the appellate court.” In re Checking Account Overdraft
Litig., 754 F.3d 1290, 1296 (11th Cir. 2014) (quoting United States v. Ben Zvi, 242 F.3d 89,
95 (2d Cir. 2001)).


                                            40
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 41 of 96




             2.    The Autoliv seatbelt is defective.

      In Georgia, to determine whether a product is defectively designed, the

factfinder applies the “risk-utility analysis,” which requires “balancing the risks

inherent in a product design against the utility of the product so designed.” Banks,

264 Ga. at 735, 450 S.E.2d at 674. The Georgia Supreme Court has held that “[t]he

‘heart’ of a design defect case is the reasonableness of selecting from among

alternative product designs and adopting the safest feasible one.” Jones v.

NordicTrack, Inc., 274 Ga. 115, 118, 550 S.E.2d 101, 103 (2001). “[I]n determining

whether a product was defectively designed, the trier of fact may consider

evidence establishing that at the time the product was manufactured, an

alternative design would have made the product safer than the original design and

was a marketable reality and technologically feasible.” CertainTeed Corp. v.

Fletcher, 300 Ga. 327, 329, 794 S.E.2d 641, 644 (2016) (quoting Banks, 246 Ga. at 736,

450 S.E.2d at 674–75).

      Before proceeding to the defect analysis, the Court makes a preliminary

observation. Plaintiff has asserted a strict products liability claim related to the

design of the Autoliv seatbelt. At trial, Plaintiff presented evidence through her

seatbelt expert, Mr. Meyer, about the specific features of the seatbelt’s design that

were defective. Mr. Meyer specifically pointed out that this seatbelt’s design



                                         41
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 42 of 96




incorporates both a “very low” 2.0 kN deployment threshold and does not

incorporate a “stop” to limit the amount of seatbelt spool out once the deployment

threshold has been reached. Meyer testimony, 10/6/21 PM, Trial Tr. p. 64,

line 5–p. 65, line 9.45 Mr. Meyer’s testimony that there were other seatbelt designs

available and actually in use that allow a lot less spool out in a 35-mph frontal

collision was unrebutted by any evidence from Autoliv. Id. at p. 71, lines 1–17.

      At the close of Plaintiff’s evidence, Autoliv moved for a judgment as a

matter of law on what Autoliv itself labeled the “deployment threshold” defect.

See Autoliv motion, 10/7/21 AM, Trial Tr. p. 36, line 6–p. 39, line 20. The Court

ultimately denied Autoliv’s motion, id. at p. 46, lines 2–6, and Autoliv’s renewal

of that same motion, 10/12/21 PM, Trial Tr. p. 62, line 8–p. 63, line 8. The Court

now perfects the record by noting the flaws in the motion.

      First, Plaintiff asserts that she has only one design defect claim in this case—

not two. At trial, Plaintiff proved that there were several ways to make the seatbelt

safer—a higher deployment threshold or a stop. But those improvements are not

independent design defects. To resolve Plaintiff’s sole design defect claim under




45Mr. Meyer also used the phrase “very weak” when testifying about the seatbelt torsion
bar at issue. Meyer testimony, 10/6/21 PM, Trial Tr. p. 64, line 5–p. 65, line 9.


                                          42
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 43 of 96




Georgia law, the Court as factfinder must answer a single question: Do the risks

of the seatbelt’s design outweigh its utility? Banks, 264 Ga. at 735, 450 S.E.2d at

674. The answer, as explained below, is yes.

      Second, though Autoliv asserts otherwise, “alternative design” does not

appear to encompass proximate cause under Georgia law. Contra Def. Closing

Arg., 10/13/21 AM Trial Tr. p. 54, line 17–p. 55, line 6. For purposes of the

risk-utility analysis in Georgia, the existence of an “alternative design” is just one

factor for the factfinder to consider when determining if the at-issue design is

defective. See Bodymasters Sports Indus., Inc., 232 Ga. App. at 173, 501 S.E.2d at

560 (“[A]lthough Banks identifies the existence of an alternative design as one

factor affecting the risk-utility analysis, it does not indicate that such factor is

controlling.”). That factor—alternative design—relates only to the issue of defect

for the risk-utility analysis.

      The Court derives guidance on this issue from Georgia case law. For another

design to qualify as an “alternative design,” the Georgia Supreme Court has held

that design needs to be something that “would have made the product safer than

the original design,” and it must be a “marketable reality” and “technologically

feasible.” Banks, 264 Ga. at 736, 450 S.E.2d at 674-75; CertainTeed, 300 Ga. at 328,

794 S.E.2d at 644. The Georgia pattern civil instructions also indicate that


                                         43
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 44 of 96




“evidence of alternative designs that would have made the product safer and

could have prevented or minimized the plaintiff’s injury” may be considered by

the factfinder. Council of Superior Court Judges, Suggested Pattern Jury

Instructions, Vol. I: Civil Cases § 62.650 (5th ed. 2020) (citing Banks, 264 Ga. at 732

and Wilson Foods Corp. v. Turner, 218 Ga. App. 74, 460 S.E.2d 532 (1995)).46

      Also, if Georgia law incorporated “alternative design” into the proximate

cause analysis, as Autoliv argues, then proof of an alternative design would be

mandatory. But the law in Georgia is clear: proof of an alternative design is not

required to prevail on a design defect claim. Bodymasters Sports Indus., Inc. v.

Wimberley, 232 Ga. App. 170, 173, 501 S.E.2d 556, 560 (1998); see also Volkswagen

of Am., Inc. v. Gentry, 254 Ga. App. 888, 896, 564 S.E.2d 733, 741–42 (2002) (failure

to charge jury that plaintiffs had to offer proof of an alternative, safer design,

practicable under the circumstances was not error); Timmons v. Ford Motor Co.,

982 F. Supp. 1475, 1479 (S.D. Ga. 1997) (“While at the ‘heart’ of the analysis, the

Georgia Supreme Court clearly found that alternative designs were a factor that




46 Defendant Autoliv, through Counsel, interprets this case law as an issue of whether
the alternative design could have “saved” Mr. Andrews, however, the word “saved” is
not in the above-stated standards. The Court will, instead, conduct its analysis utilizing
the language of the standards set forth by the Georgia courts.


                                           44
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 45 of 96




may be considered and not a requirement.”) (citations omitted). Because proof of

an “alternative design” is not mandatory under Georgia law, the Court is unable

to uphold Autoliv’s argument that Plaintiff has to show her alternative designs

would have “saved” her husband’s life to establish proximate cause.

      The Court now proceeds with the defect analysis. The Georgia Supreme

Court has held that “the appropriate analysis” in a design defect case like this one

often “includes consideration of whether the defendant failed to adopt a

reasonable alternative design which would have reduced the foreseeable risks of

harm presented by the product.” Jones, 274 Ga. at 118, 550 S.E.2d at 103. Other

factors that the Court, as factfinder, may consider include:

            the usefulness of the product; the gravity and severity of
            the danger posed by the design; the likelihood of that
            danger; the avoidability of the danger, i.e., the user’s
            knowledge of the product, publicity surrounding the
            danger, or the efficacy of warnings, as well as common
            knowledge and the expectation of danger; the user’s
            ability to avoid danger; the state of the art at the time the
            product is manufactured; the ability to eliminate danger
            without impairing the usefulness of the product or
            making it too expensive; and the feasibility of spreading
            the loss in the setting of the product’s price or by
            purchasing insurance.




                                         45
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 46 of 96




Banks, 24 Ga. at 737, 450 S.E.2d at 675 n.6; see also Council of Superior Court

Judges, Suggested Pattern Jury Instructions, Vol. I: Civil Cases § 62.650 (5th ed.

2020). This list of factors is nonexhaustive, and not all factors apply in every case.

       Here, the Court concludes that the risk of the design of the Autoliv seatbelt

in Mr. Andrews’s 2005 Mazda3 outweighs the utility of that design. The risk of a

seatbelt with a very weak torsion bar is death or serious injury to an occupant in a

collision in which the airbag does not deploy. The utility of seatbelt with a very

weak torsion bar is that the car might get slightly better scores for potential chest

injuries in the NCAP test.47 But in a real-world collision in which an airbag does

not deploy, slightly better scores on a standardized crash test will not keep the

occupant from striking objects inside the car (e.g., steering wheel or dashboard)

with injurious force—the primary purpose of a seatbelt.48




47 Autoliv presented the testimony of its retained experts to argue that stronger torsion
bars could result in serious injury to occupants. However, the Court does not find this
argument persuasive. The 2004-2009 Volvo S40 seatbelt, for example, was three times
stronger than the 2005 Mazda3 seatbelt, and it performed well in testing. Meyer
testimony, 10/6/21 PM Trial Tr. p. 71, lines 7–23.
48 See Meyer testimony, 10/6/21 PM Trial Tr. p. 48, lines 19–22 (“Q. What is the whole
job of the seatbelt? A. The seatbelt is to prevent the occupant from slamming into interior
components like the steering wheel so hard that it creates a permanent or a fatal injury.”).


                                            46
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 47 of 96




      Plaintiff’s seatbelt expert, Mr. Meyer, testified that there were alternative

designs for the subject seatbelt that would have been safer and that were actually

on the market. Mr. Meyer testified that all else being equal, a stronger torsion bar

allows much less spool out. Meyer testimony, 10/6/21 PM Trial Tr. p. 37,

lines 19–22, p. 63, lines 18–19. Autoliv made and sold a seatbelt that was 1.75 times

stronger for the 2006–2009 Mazda3. See PX 35 (seatbelt specification showing 2.0

± 0.5 kN torsion bar for driver seatbelt in 2004–2005 Mazda3 but 3.5 ± 0.9 kN

torsion bar for driver seatbelt in the 2006–2009 Mazda3).

      Autoliv also made and sold the seatbelt for the 2004–2009 Volvo S40. That is

significant because the 2004-2009 Volvo S40 was built on the same “platform” as

the 2005 Mazda3, meaning the cars share the same “basic structure.” See 49 C.F.R.

§ 579.4(c) (defining the term “platform”). The Autoliv seatbelt in the 2004-2009

Volvo S40 had a first-phase deployment threshold of 6.0 kN, meaning it was three

times as strong as the 2005 Mazda3 seatbelt. Doc. No. [503], ¶ 29. The real-world

consequences of the stronger seatbelt in the 2004-2009 Volvo S40 come through in

the NCAP test where the 2004-2009 Volvo S40 seatbelt spooled out only 6.50 inches

compared to the 16.85 inches that the Mazda3 at issue allowed. PX 9.




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      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 48 of 96




Pl.’s Demonstrative. The record is clear: Autoliv had safer seatbelts that it could

have sold to Mazda. And Autoliv engineer Yuji Kamei admitted that Autoliv did

not have to sell Mazda an unsafe seatbelt. PX 1163, Tr. p. 61, lines 19–24.

      Autoliv could have also made the seatbelt safer another way. The Autoliv

seatbelt had no limit on the amount of webbing that could spool out in a collision.

Autoliv could have put a stop on the seatbelt to limit the amount of webbing that

spooled out. The undisputed testimony at trial was that when Autoliv designed,

manufactured, and sold the subject seatbelt to Mazda, it also had for sale a seatbelt

with a stop to limit the amount of spool out. Meyer testimony, 10/6/21 PM Trial

                                         48
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 49 of 96




Tr. p. 73, line 13–p. 74, line 4. The Court thus concludes that there were feasible,

alternative designs that would have made the Autoliv seatbelt safer.

      There is also significant evidence that the Autoliv seatbelt’s design is an

extreme outlier. Plaintiff’s seatbelt expert, Steve Meyer, testified that the Autoliv

seatbelt had the lowest deployment threshold of any car he had ever seen. Meyer

testimony, 10/6/21 PM Trial Tr. p. 64, lines 15–16 (“lowest one I’ve ever seen”).

Both in terms of performance and use, the Autoliv seatbelt in the 2005 Mazda3 is

unlike others in the similar class of vehicles.

      The record shows that the danger that the Autoliv seatbelt posed to

foreseeable users like Mr. Andrews was unknown to the public. Autoliv’s

corporate representative admitted that Mr. Andrews “had no warning that if the

airbag failed, the seat belt would be useless to him.” Prentkowski testimony,

10/7/21 PM Trial Tr. p. 56, lines 7–9. The record also shows that there was no

warning on the seatbelt or in the owner’s manual about the danger the Autoliv

seatbelt posed. Nor have there been any public statements by Autoliv (or Mazda)

warning the public either before or after Mr. Andrews’s collision about the Autoliv

seatbelt’s dangers in a 35-mph collision.

      The availability of safer alternative designs that were actually used in other

cars in the Mazda3’s class—and manufactured and sold by Autoliv—proves that


                                          49
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 50 of 96




the weak Autoliv seatbelt was not “state of the art.” The Autoliv seatbelt was an

extreme outlier and unsafe. That other cars in the Mazda3’s class were able to use

stronger, safer torsion bars is proof that it was possible for Autoliv to manufacture

and sell Mazda a safer seatbelt without impairing the seatbelt’s usefulness or

making it too expensive.

      After considering the relevant factors for purposes of the risk-utility

analysis, the Court concludes that the risks of the Autoliv seatbelt in

Mr. Andrews’s car outweigh its utility. Thus, the Autoliv seatbelt was defectively

designed.

             3.    The Autoliv seatbelt was a proximate cause of Mr. Andrews’s
                   death.

      Having determined that the Autoliv seatbelt is defective, the sole question

remaining to establish liability is whether the Autoliv’s seatbelt was a proximate

cause of Mr. Andrews’s injuries and death. The Court concludes that it was.

      More specifically, “[t]o prevail in a Georgia products liability action,

whether based on negligence or strict liability, a plaintiff must show that the

proximate cause of the injury was a defect which existed when the product was

sold.” Carmical v. Bell Helicopter Textron, Inc., a Subsidiary of Textron, Inc., 117

F.3d 490, 494 (11th Cir. 1997) (citations omitted).




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         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 51 of 96




         In May 2021, the Georgia Supreme Court expounded on the nature of

“proximate cause” under Georgia law. “Proximate cause is that which, in the

natural and continuous sequence, unbroken by other causes, produces an event,

and without which the event would not have occurred.” Johnson v. Avis Rent a

Car Sys., LLC, 311 Ga. 588, 592, 858 S.E.2d 23, 29 (2021) (quoting Zwiren v.

Thompson, 276 Ga. 498, 500 578 S.E.2d 862, 865 (2003)). A defendant who breaches

a duty owed to the plaintiff is liable for the plaintiff’s damages (i.e., is a proximate

cause) when the consequences of the defendant’s breach of duty “is probable,

according to ordinary and usual experience.” Id. (quoting Johnson v. Am. Nat’l

Red Cross, 276 Ga. 270, 273, 578 S.E.2d 106, 109 (2003)).49

         In one sense, “proximate cause constitutes a limit on legal liability; it is a

policy decision that, for a variety of reasons, e.g., intervening act, the defendant’s

conduct and the plaintiff’s injury are too remote for the law to countenance




49   The Georgia Supreme Court noted that it was important to recognize that
               ‘‘[p]robable,’’ . . . in the . . . rule as to causation, does not mean
               ‘‘more likely than not’’ but rather ‘‘not unlikely’’; or, more
               definitely, ‘‘such a chance of harm as would induce a prudent
               man not to run the risk; such a chance of harmful result that a
               prudent man would foresee an appreciable risk that some
               harm would happen.’’
Johnson, 311 Ga. at 592, 858 S.E.2d at 29 (quoting Jeremiah Smith, Legal Cause in Actions
of Tort, 25 Harv. L. Rev. 103, 116 (1911)).


                                                51
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 52 of 96




recovery.” Id. (quoting Atlanta Obstetrics & Gynecology Grp. v. Coleman, 260 Ga.

569, 569, 398 S.E.2d 16, 17 (1990)). The conclusion that proximate cause exists

“requires both factfinding in the ‘what happened’ sense, and an evaluation of

whether the facts measure up to the legal standard set by precedent.” Id. (citations

omitted).

      Applying the above-stated case law, the factfinding in the “what happened”

sense is that the evidence at trial showed that Mr. Andrews would not have been

killed when his head struck his car’s steering wheel with enough force to cause a

fatal basilar skull fracture had he received the benefit of his airbag or a seatbelt

that did not spool out 20 inches. See Ziejewski testimony, Trial Tr. p. 46, lines 7–9

(“Q. Would Mr. Andrews have had a fatal thoracic injury if the seatbelt would

have kept him off the steering wheel? A. No, he would not.”); Id. at p. 103, lines

21–23 (“Q: You know that if the airbag had deployed, Mr. Andrews would have

survived this accident? A. Yes.”).

      The evidence also showed that Autoliv knew that the seatbelt allowed an

excessive amount of spool out in standardized 35-mph crash tests and hardly

provided any restraining force. The Autoliv seatbelt allowed more than twice as

much spool out as the other cars in the Mazda3’s class and more than twice as

much spool out as the seatbelt in the 2004-2009 Volvo S40, a car built on the same


                                         52
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 53 of 96




platform as the 2005 Mazda3. In addition, Autoliv knew that airbags do not always

deploy in a collision. Autoliv also knew that people could be seriously injured or

killed if the seatbelt did not adequately restrain the driver during a frontal

collision. Accordingly, the Court concludes that Autoliv knew that a person

properly wearing the subject seatbelt was at risk of suffering serious injury or

death if the airbag did not deploy in a 35-mph frontal collision.

      Next, the Court evaluates whether the facts measure up to the legal standard

set by precedent. The Court finds that the facts measure up to yield a finding of

proximate cause as Plaintiff has proved that but for Autoliv’s conduct,

Mr. Andrews would not have sustained the fatal injury. See Strength v. Lovett, 311

Ga. App. 35, 43–44, 714 S.E.2d 723, 730 (2011) (“To show that the wrongful conduct

of the defendant is a cause in fact of his injuries, a plaintiff ordinarily must prove

that, but for this conduct, he would not have sustained the injury: ‘The defendant’s

conduct is not a cause of the event, if the event would have occurred without it.’”)

(citations omitted).50



50
   The Court recognizes that Autoliv interprets this case law as requiring Plaintiff to
show that Mr. Andrews “would not have died had the subject seatbelt included a
deployment threshold greater than 2.0 ± .5 kN” or that Mr. Andrews would not have died
had the subject seatbelt included a “stop.” See Doc. No. [531], ¶¶ 44, 50. However, as
indicated above, the Court declines to conflate alternative designs (of higher thresholds



                                           53
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 54 of 96




       In addition, the probable consequence of Autoliv’s breach of a legal duty

owed to Mr. Andrews is that Mr. Andrews might be in a frontal collision in which

his airbag did not deploy and suffer serious injury or death because the seatbelt

failed to adequately restrain him. See Chrysler Corp. v. Batten, 264 Ga. 723, 724,

450 S.E.2d 208, 211 (1994) (“[A] manufacturer has a duty to exercise reasonable

care in manufacturing its products so as to make products that are reasonably safe

for intended or foreseeable uses.”).

       The defectively designed Autoliv seatbelt was thus a proximate cause of

Mr. Andrews’s injuries and death.




and a stop) and proximate cause. The Court reads the case law as more generalized, i.e.,
of focusing on Autoliv’s actual conduct and how it related to Mr. Andrews’ fatal injury,
i.e., selling a seatbelt that allowed for 20 inches of spool out in a foreseeable accident in
which an airbag does not deploy. Further, to the extent that Autoliv’s interpretation of
the law/issue is correct, the evidence from both Plaintiff’s and Defendant’s experts still
shows by a preponderance of the evidence that had the seatbelt included at least one of
the alternative designs (i.e., a stop), Mr. Andrews would have experienced survivable
head injuries, which Defense Counsel acknowledged in closing. See 10/13/21 AM Trial
Tr. p. 58, lines 21–25 (“Dr. Rafael said you’re talking about that kind of force, you could
have heart lacerations, lung lacerations, flailed chest, very serious things. I thought she
was very credible and forthright when she said, I can’t say that he would have died, I
can’t.”); see also Dr. Ziejewski testimony, 10/5/21 Trial Tr. p. 105, lines 16–p. 106, line 8
(opining that with a stop of 6 inches pay out, Mr. Andrews would have received a
“concussion, mild traumatic brain injury”).


                                             54
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 55 of 96




      B.       Damages

      Having determined that Autoliv is liable for Mr. Andrews’s death, the Court

now turns to the question of damages.

               1.   Estate claim: Mr. Andrews’s special damages.

      Plaintiff, as personal representative of Mr. Andrews’s estate, seeks special

damages51 for Mr. Andrews’s medical bills and funeral costs. The parties

stipulated that the amount of these damages is $19,343.40. Doc. No. [503], ¶¶ 8, 9.

Accordingly, the Court finds that special damages in the amount of $19,343.40 are

appropriate.

               2.   Estate claim: Mr. Andrews’s general damages.

      Under Georgia law, a claim for wrongful death damages and a claim for the

conscious pain and suffering that the decedent experienced before death are

distinct. Grant v. Ga. Pac. Corp., 239 Ga. App. 748, 751, 521 S.E.2d 868, 870 (1999).

Whether the decedent experienced conscious pain and suffering is a question for

the factfinder to decide. See Walker v. Daniels, 200 Ga. App. 150, 157, 407 S.E.2d

70, 75–76 (1991).




51 Under Georgia law, “[s]pecial damages are those which actually flow from a tortious
act.” O.C.G.A. § 51-12-2(b). General damages, on the other hand, “are those which the
law presumes to flow from any tortious act.” O.C.G.A. § 51-12-2(a).


                                         55
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 56 of 96




      Here, the undisputed evidence from Mr. Kemp was that after he hung up

with 911—a call that lasted four minutes and twelve seconds—he went to

Mr. Andrews’s car and told Mr. Andrews that help was on the way. Mr. Kemp

vividly remembers that Mr. Andrews tried to respond by groaning and trying to

raise his body. Officer Porter testified that he witnessed Mr. Andrews’s last two

breaths, after Mr. Kemp had spoken with Mr. Andrews. Dr. Frist testified that

what Mr. Kemp observed was consistent with Mr. Andrews having been

conscious at that time. All this testimony was undisputed. Based on the

undisputed evidence at trial, which the Court finds is credible, the Court

concludes that Mr. Andrews was alive and conscious from the time of the collision

until after Mr. Kemp pulled off the road and stopped his car, finished his 911 call,

and then went to Mr. Andrews’s car—over four minutes and twelve seconds.52

       Accordingly, the Court finds general damages for the postimpact pain and

suffering Mr. Andrews endured in the amount of $2,000,000.00 are appropriate.




52 See Holland v. Cypress Ins. Co., No. 2:17-cv-120, 2020 WL 5742250, *10 (N.D. Ga. Aug.
21, 2020) (Story, J.) (denying defendant’s renewed motion for judgment as a matter of law
or, in the alternative, for new trial on issue of postimpact pain and suffering where there
was credible evidence that a witness heard the decedent moan after being unattended for
some period after the collision).


                                            56
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 57 of 96




             3.     Wrongful death damages: the full value of Mr. Andrews’s
                    life.

      Mr. Andrews was 38 years old at the time of his death. Doc. No. [503], ¶ 5.

The parties agree that his life expectancy at the time of his death was an additional

36.18 years. Id. ¶ 7.

      Georgia places a premium on life. For over one hundred years, the civil

remedy in Georgia for causing a person to lose their life is not the sum of the

foregone paychecks or the services the deceased would have rendered—it is the

“the full value of the life of the deceased.” See Bibbs v. Toyota Motor Corp., 304

Ga. 68, 70, 815 S.E.2d 850, 853 (2018) (providing a historical overview of Georgia’s

wrongful death laws). That “full value” is not what someone else would assign to

the life—not even family or friends. Instead, it is the value of the life through the

eyes of the person who lost it. Id. at 73, 815 S.E.2d at 854–55 (the full value of a

decedent’s life is measured from the perspective of the decedent rather than the

perspective of the survivors); see also O.C.G.A. § 51-4-1(a) (defining “[f]ull value

of the life of the decedent, as shown by the evidence”).




                                         57
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 58 of 96




      In terms of economic value, the parties stipulated that the present value of

Mr. Andrews’s lost income, lost fringe benefits, and lost household services is

$2,027,141.00. Doc. No. [503], ¶ 38.53

      In terms of intangible value, Plaintiff presented considerable, credible

evidence proving that Mr. Andrews was an exemplary citizen and father with a

real zest and love of life, his family, his friends, and his work. Autoliv did not

dispute any of that proof; indeed, Autoliv did not ask Plaintiff’s damages

witnesses a single question or present any inconsistent evidence.

      In reaching a conclusion about the full value of Mr. Andrews’s life, the Court

has considered the verdicts that actual Georgia juries have returned in cases

referenced in Plaintiff’s Corrected and Supplemental Trial Briefs on the Full Value

of Mr. Andrews’s Life. Doc. Nos. [468-1]; [533]. The Court also notes that in its

closing argument Autoliv did not dispute, challenge, or otherwise try to diminish

the amount that Plaintiff placed on the “full value” of Mr. Andrews’s life of “not

less than $25 million.” Pl. Closing Arg., 10/13/21 AM, Trial Tr. p. 39, line 1.54




53According to Plaintiff, the parties’ stipulation about the economic value of Mr.
Andrews’s life was based on the deposition testimony of Plaintiff’s economist Michael
Daniels, Ph.D.
54  Autoliv asked for a “defense verdict” only. Def. Closing Arg., 10/13/21 AM, Trial
Tr. p. 76, lines 20–22.


                                         58
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 59 of 96




      Accordingly, the Court finds the the full value of Mr. Andrews’s life, both

economic and intangible, is $25,000,000.00 (Twenty-Five Million Dollars).55

             4.     Apportionment

      In 2005, the Georgia General Assembly amended O.C.G.A. § 51-12-33,

commonly known as the “apportionment statute.” See Couch v. Red Roof Inns,

Inc., 291 Ga. 359, 362, 729 S.E.2d 378, 381 (2012). Since its enactment, this statute

has spawned a plethora of litigation in the Georgia appellate courts, and that

litigation continues unabated. Even so, the features of Georgia apportionment law

relevant to this case can be distilled as follows.

      First, where the apportionment statute applies, the factfinder makes two

different (albeit related) determinations: the amount of the plaintiff’s damages and

the percentages of fault of all persons who contributed to the plaintiff’s injuries or

damages. See O.C.G.A. § 51-12-33(a)–(c); Alston & Bird, LLP v. Hatcher Mgmt.

Holdings, LLC, 355 Ga. App. 525, 534, 843 S.E.2d 613, 620 (2020) (“[T]he

apportionment statute obligates us to distinguish between the trier of fact’s




55 Georgia law gives the right to bring a wrongful death claim to the surviving spouse of
the decedent. O.C.G.A. § 51-4-2(a). The wrongful death award, however, is shared
between the surviving spouse and the decedent’s children. O.C.G.A. § 51-4-2(d)(1). Here,
that means that Jamie Andrews and her and Mr. Andrews’s daughter, S.C., will split the
wrongful death damages equally.


                                           59
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 60 of 96




determination of damages and that of fault.”), aff’d in pertinent part by 862 S.E.2d

295 (Ga. 2021).

      Second, where a defendant claims that the plaintiff’s injuries or damages

were the fault of another party or a nonparty, the defendant bears the burden of

proving that another party or nonparty was responsible for the plaintiff’s injuries

or damages. See Brown v. Tucker, 337 Ga. App. 704, 716, 788 S.E.2d 810, 821 (2016)

(“The affirmative defense that the jury should apportion fault against someone

other than the defendant is no different analytically from the defense of

contributory negligence. Once the plaintiff establishes her prima facie case, the

defendant seeking to establish that someone else bears responsibility for the

damages has the burden of proving that defense.”). Here, Autoliv not only denied

that it is liable for Mr. Andrews’s injuries and death but also claimed that

Mr. Andrews’s injuries and death were caused by (1) Mr. Andrews himself, (2)

Mazda, and (3) Bosch. Under Georgia law, Autoliv’s claims that others were at

fault for Mr. Andrews’s injuries and death are “affirmative defense[s],” and

Autoliv “had the burden of showing by a preponderance of the evidence” that

each purportedly responsible other party was at fault for Mr. Andrews’s injuries

and death. Id.




                                        60
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 61 of 96




       That conclusion is buttressed by the Georgia Supreme Court’s construction

of the term “fault” in subsections (a), (b), and (c) of O.C.G.A. § 51-12-33. As

construed by the Georgia Supreme Court, “fault” in subsection (a) refers “to a

breach of a legal duty that the plaintiff owes for his own protection that is a

proximate cause of his injury”;56 “fault” in subsection (b) refers “to a breach of a

legal duty that a defendant owes for the protection of the plaintiff that is a

proximate cause of the injury to the plaintiff”; and “fault” that “contributed to the

alleged injury or damages” in subsection (c) refers “to a breach of a legal duty in

the nature of tort that is owed for the protection of the plaintiff, the breach of which

is a proximate cause of his injury.” Zaldivar v. Prickett, 297 Ga. 589, 595, 774 S.E.2d

688, 694 (2015).57




56 Under O.C.G.A. § 51-12-33(g), “if the plaintiff is 50 percent or more responsible for the
injury or damages claims,” then the plaintiff cannot recover any damages. According to
the Georgia Supreme Court, “[t]ogether, subsections (a) and (g) codify the doctrine of
comparative negligence, a doctrine that was recognized in Georgia long before the
present apportionment statute was enacted in 2005.” Zaldivar v. Prickett, 297 Ga. 589, 774
S.E.2d 688, 693 (2015) (internal citation and footnote omitted).
57 “Subsection (c), then, is properly understood to require the consideration of the ‘fault’
of four classes of persons or entities: plaintiffs (also covered in subsection (a)), defendants
with liability (also covered in subsection (b)), defendants without liability, and
nonparties.” Zaldivar, 297 Ga. at 598, 774 S.E.2d at 695 n.6


                                              61
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 62 of 96




      Third, even where, as here, a plaintiff brings a strict products liability claim

against a defendant under O.C.G.A. § 51-1-11(b)(1), the factfinder can determine

the plaintiff’s percentage of fault for the plaintiff’s injuries or damages if there is

evidence that the plaintiff was at fault for them. See Johns v. Suzuki Motor of Am.,

Inc., 310 Ga. 159, 169, 850 S.E.2d 59, 67 (2020).

      Fourth, Plaintiff initially sued Mazda and several Bosch entities,58 but that

does not mean that the Court, as factfinder, must consider the potential fault of

Mazda or Bosch under O.C.G.A. § 51-12-33(d)(1). Although subsection (d)(1)

provides that the “[n]egligence or fault of a nonparty shall be considered if the

plaintiff entered into a settlement agreement with the nonparty,” the Georgia

Court of Appeals has “decline[d] to interpret” that subsection “as requiring a trier

of fact to automatically consider the potential fault of a settled entity.” Union

Carbide Corp. v. Fields, 315 Ga. App. 554, 559, 726 S.E.2d 521, 526 (2012), reversed




58 Plaintiff’s Complaint named four Bosch entities: (1) Robert Bosch LLC, (2) Robert Bosch
North America Corporation, (3) Robert Bosch Motor Systems Corporation, and (4) Bosch
Corporation. Doc. No. [1-2], p. 1. Plaintiff’s First Amended Complaint dropped Robert
Bosch Motor Systems Corporation as improperly named and added Robert Bosch GmbH.
Doc. No. [17], p. 2. For purposes of this section of the Order, the Bosch entities will be
referenced collectively as “Bosch.”


                                           62
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 63 of 96




in part by Ga.-Pac., LLC v. Fields, 293 Ga. 499, 748 S.E.2d 407 (2013).59 Instead, the

“defending party” must produce evidence that “the settled entity ‘contributed to

the alleged injury or damages’ before its fault can be assessed by the trier of fact.”

Id. at 559, 726 S.E.2d at 525–26 (quoting O.C.G.A. § 51-12-33(c)). Thus, even though

Plaintiff settled with Mazda and dismissed certain Bosch entities years ago,

Autoliv must still produce evidence that Mazda and Bosch breached a legal duty

in the nature of a tort for the protection of Mr. Andrews and that breach was a

proximate cause of Mr. Andrews’s injuries and death before the Court, as

factfinder, can assess any fault to Mazda or Bosch.

       Fifth, Autoliv must produce evidence that affords the factfinder a rational

basis to apportion fault. See Alston & Bird, LLP v. Hatcher Mgmt. Holdings, LLC,

862 S.E.2d 295, 303 (Ga. 2021) (“Whether fault is divisible as a matter of fact, by

contrast, is for the trier of fact to determine so long as some evidence is presented



59 The Georgia Supreme Court granted certiorari and reversed a portion of Fields
unrelated to this holding. Ga.-Pac., LLC v. Fields, 293 Ga. 499, 748 S.E.2d 407 (2013). When
the case returned to the Georgia Court of Appeals, the intermediate appellate court
vacated the reversed portion of its earlier opinion and substituted the Georgia Supreme
Court’s opinion. Union Carbide Corp. v. Fields, 327 Ga. App. 264, 758 S.E.2d 335 (2014).
But the Georgia Court of Appeals’ interpretation of O.C.G.A. § 51-12-33(d)(1) in Fields
became binding when the case returned to that court. See id. at 336 (“Since those portions
of our earlier opinion are consistent with the Supreme Court’s opinion, Divisions 1(a)–
(c), (e) and Division 2 of our earlier opinion ‘become binding upon the return of the
remittitur.’”).


                                            63
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 64 of 96




that would allow a rational division.”);60 see also Stewart Ausband Enters., Inc. v.

Holden, 349 Ga. App. 295, 300, 826 S.E.2d 138, 144 (2019) (“It is the defendants’

burden to establish a basis for apportionment, and it is the factfinder’s role to

assign fault accordingly.”).

      Whether a rational basis exists to apportion fault is a question of fact. Couch,

291 Ga. at 366, 729 S.E.2d at 384.

      Apportionment of fault requires the factfinder to determine, in terms of

percentage, the relative extent to which each tortfeasor contributed as a proximate

cause of the plaintiff’s injury. See Zaldivar, 297 Ga. at 595, 774 S.E.2d at 693. For

that reason, a defendant must present some evidence at trial providing the

factfinder a rational basis for apportionment based on percentages of fault.

      In applying the above-stated features and principles of Georgia law, the

Court concludes that Autoliv has not established a rational basis for

apportionment as to Mr. Andrews and Bosch, but has established a rational basis

for apportionment as to Mazda.




60The Court recognizes that the Georgia Court of Appeals has held that the “rational
basis” standard is not the law for apportionment in Georgia. See Brown, 337 Ga. App. at
717, 788 S.E.2d at 821. However, the most recent Georgia Supreme Court case, cited
above, indicates that “rational division” is the correct standard.


                                          64
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 65 of 96




      The Court also recognizes Plaintiff’s opposition argument that there should

be no apportionment based on Autoliv’s employment of an “all or nothing”

strategy at trial, i.e., asserting that its product was not defective and was not the

proximate cause of Mr. Andrews’s injuries.

      In support of this argument, Plaintiff relies upon the case of: Ford Motor

Company v. Reese, 300 Ga. App. 82, 684 S.E.2d 279 (2009). In the Ford case, the

plaintiff’s decedent died after the Ford vehicle that she was driving was

rear-ended by a dump truck. Id. Her surviving children sued Ford, asserting a

claim for defective design based upon the seat design. Id. The jury returned a

verdict against Ford and on appeal, Ford argued that “the trial court’s jury

instruction was incomplete because it did not inform the jury that Ford could limit

its liability by demonstrating a rational basis for apportioning liability for [the

decedent’s] injuries” between Ford and the dump truck driver. Id. at 88, 684 S.E.2d

at 286. In finding that that the trial court had properly instructed the jury, the

Georgia Court of Appeals noted that Ford had taken an “all or nothing” approach

to liability at trial and “made no effort to show how her injuries could be rationally

apportioned between the collision with the dump truck” and the alleged defect in

her car. Id. at 89, 684 S.E.2d at 286.




                                         65
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 66 of 96




      After review, the Court finds that the Ford case is distinguishable from the

case sub judice in that, as stated above, Autoliv did make an effort (through

evidence presentation at trial and reference to the apportionment statute in closing

argument) to show how the injuries could be apportioned between it and Mazda.

Further, while Plaintiff is correct that it can be argued that Autoliv took an “all or

nothing” approach to liability at trial, the Georgia Court of Appeals has held that

“[a] defendant need not necessarily concede the essential facts of the plaintiff’s

claim to raise a burden-shifting affirmative defense.” Brown, 337 Ga. App. at 715,

788 S.E.2d at 820. “A defendant may deny the essential facts asserted and also

claim in the alternative that, if the plaintiff had been injured, the injury was due to

causes other than the defendant’s actions.” Id. Such is what happened in the case

sub judice, as Defendant maintained at trial that Mr. Andrews’s injuries were due

to causes other than Autoliv’s actions.

                       i. Mr. Andrews is not at fault for his own injuries and
                          death.

      Under subsection (a) of the Georgia apportionment statute, “[w]here an

action is brought against one or more persons for injury to person or property and

the plaintiff is to some degree responsible for the injury or damages claimed,” the

factfinder “shall determine the percentage of fault of the plaintiff and the judge




                                          66
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 67 of 96




shall reduce the amount of damages otherwise awarded to the plaintiff in

proportion to his or her percentage of fault.” O.C.G.A. § 51-12-33(a).

       To allocate any “fault” to Mr. Andrews, the Court would have to find that

Mr. Andrews’s injuries and death were proximately caused by his own negligence.

That is not possible to do in this case as Mr. Andrews did not design or

manufacture the seatbelt that spooled out 20 inches, or the airbag, or the crash

sensing system (i.e., the wiring, sensor, or control computer) that resulted in the

airbag not deploying.61

       Plaintiff’s   expert,   Dr.   Frist,   testified,   without   contradiction,    that

Mr. Andrews would not have had a basilar skull fracture had his head not hit the

steering wheel with such force and velocity. Dr. Frist also testified, without

contradiction, that Mr. Andrews had no life-threatening injuries besides the basilar

skull fracture. Frist testimony, 10/4/21 AM, Trial Tr. p. 82, lines 4–21. The

evidence in the case showed that Mr. Andrews’s head hit the steering wheel with

such force and velocity only because his seatbelt spooled out 20 inches and the




61 As indicated above, Autoliv’s own corporate representative admitted at trial, “this case
starts when the car hit those trees because that’s when the question arises, who is at fault
for the airbag not working and the seat belt not working.” Prentkowski testimony,
10/7/21 PM Trial Tr. p. 54, lines 19–23.


                                              67
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 68 of 96




airbag did not deploy. Mr. Andrews had no control of the seatbelt’s design or the

mechanisms that should have led to the airbag deploying. The undisputed

evidence at trial showed that the expected outcome of a 35-mph frontal collision

is survival with relatively minor injuries—as long as the occupant restraint system

works. Accordingly, the Court concludes that Mr. Andrews is not the proximate

cause of his fatal injuries or death. For that reason, no fault can be apportioned to

him under Georgia law.

      Additionally, Georgia embraces the doctrine of sudden emergency. The

sudden emergency doctrine applies when “acts which occur immediately

following the apprehension of the danger or crisis and before there is time for

careful reflection.” Willis v. Love, 232 Ga. App. 543, 545, 502 S.E.2d 487, 489 (1998)

(citation omitted). Under that doctrine, a person confronted with a sudden

emergency who “acts according to his best judgment or, because of want of time

in which to form a judgment, acts in the most judicious manner, is not chargeable

with negligence.” Id.; Curtis v. United States, 274 F. Supp. 3d 1366, 1378 (N.D. Ga.

2017) (Batten, J.) (“Under that doctrine, a person who is faced with a sudden

emergency and either acts within his ‘best judgment’ or does not have sufficient

time to form such a judgment is ‘not chargeable with negligence.’” (quoting Willis,

232 Ga. App. at 545, 502 S.E.2d at 489)). Georgia law defines an emergency as


                                         68
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 69 of 96




“sudden peril caused by circumstances in which the [person] did not participate

and which offered [him] a choice of conduct without time for thought so that

negligence in [his] choice might be attributable not to lack of care but to lack of

time to assess the situation.” Willis, 232 Ga. App. at 545, 502 S.E.2d at 489 (citations

omitted). One situation in which the sudden emergency doctrine has been held to

apply is when a driver suddenly confronts an animal in the road. See Stephens v.

Hypes, 199 Ga. App. 821, 822, 610 S.E.2d 631, 633 (2005) (“[C]ommon sense dictates

that that a deer in the road could give rise to a sudden emergency.”); see also

Adams v. Finlayson, 199 Ga. App. 821, 822, 406 S.E.2d 227, 228–29 (1991) (affirming

trial court’s charge on sudden emergency where evidence showed that collision

followed driver’s decision to swerve in response to dog on the road). Another

court has held that “a normally careful person” would react to avoid “a large

animal” that suddenly appeared in the road by veering onto the shoulder.

Whitehead v. Cruse, 279 So. 2d 802, 804 (La. Ct. App. 1973).

      Here, Mr. Andrews faced a sudden emergency not of his own making: the

presence of a large snapping turtle in the middle of the interstate. Mr. Andrews

swerved hard right and applied his brakes. Unfortunately, that avoidance

maneuver took Mr. Andrews off the interstate and onto the grassy shoulder of

I-575. That grassy shoulder was so steep that Mr. Andrews could not recover and


                                          69
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 70 of 96




return his car to the road. Under the circumstances, Mr. Andrews’s avoidance

maneuver was reasonable. Because Mr. Andrews acted reasonably under the

circumstances, Mr. Andrews did not breach a legal duty that he owed for his “own

protection” and thus no “fault” within the meaning of O.C.G.A. § 51-12-33(a) can

be apportioned to Mr. Andrews. See Zaldivar, 297 Ga. at 595, 744 S.E.2d at 694.

                    ii.   No fault can be apportioned to Bosch because Autoliv
                          did not prove that Bosch breached any legal duty owed
                          to Mr. Andrews or that Bosch’s conduct contributed to
                          Mr. Andrews’s injuries or death.

      As indicated above, between the Complaint and First Amended Complaint,

Plaintiff named five “Bosch” entities.62 Based on the evidence adduced at trial,

none of these Bosch entities is at fault for Mr. Andrews’s injuries and death.

      Plaintiff dismissed Robert Bosch Motor Systems Corporation as improperly

named. Autoliv produced no evidence to the contrary at trial, nor did Autoliv

produce any evidence proving that Robert Bosch Motor Systems Corporation was

involved in any way in designing or manufacturing any allegedly defective




62 Said entities are: (1) Robert Bosch LLC, (2) Robert Bosch North America Corporation,
(3) Bosch Corporation, (4) Robert Bosch Motor Systems Corporation, and (5) Robert Bosch
GmbH. See Doc. Nos. [1-2], p. 1; [17], p. 2.


                                          70
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 71 of 96




product in Mr. Andrews’s car. Thus, the Court cannot apportion any “fault” for

Mr. Andrews’s injuries or death to Robert Bosch Motor Systems Corporation.

       That leaves four Bosch entities: (1) Bosch Corporation, (2) Robert Bosch LLC,

(3) Robert Bosch North America Corporation, and (4) Robert Bosch GmbH

(collectively, “Bosch”).

       At trial, Autoliv presented testimony that Bosch supplied the airbag

electronic front sensor system component for Mr. Andrews’s car. Plaintiff’s expert

clarified that while it was Bosch’s airbag electronic front sensor system component

that ultimately caused the non-deployment of the airbag in Mr. Andrews’s

collision, “it was the connector and the wire connected to that sensor that failed,

not the sensor itself.” Caruso testimony, 10/6/21 AM Trial Tr. p. 88, lines 10–13.

He further testified that “if the wire had not been cut, the system was designed

reasonably well, it would have deployed the airbags.” Id. at lines 18–22. He also

testified that the fault for the wire getting cut and the sensor coming apart “was a

combination of Mazda’s decision on how to route the wire and the decision to use

[a] substandard connector,” which Plaintiff’s expert garnered was a Mazda

decision. Id. at line 23–p. 89, line 5.

       On cross-examination of Mr. Caruso, Plaintiff’s expert in airbag system

design and automaker supplier relationships, Autoliv attempted to elicit


                                          71
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 72 of 96




additional testimony about Bosch’s level of fault for the airbag’s failure to deploy

in Mr. Andrew’s April 12, 2013 collision. But Mr. Caruso testified that based on his

review of the documentary evidence and inspection of Mr. Andrews’s car, he

“could not find any fault in the airbag system -- the crash sensing system

performance as it related to Bosch.” Caruso testimony, 10/6/21 AM Trial Tr. p. 87,

lines 20–24. Caruso testified that he “felt that Bosch had taken due care,” including

with respect to Mazda’s decision not to implement dual front sensors, which Bosch

suggested at one point and that Mazda presumably rejected. Id. at p. 90, lines 1–6.

      Thus, Autoliv did not prove that Bosch designed or manufactured any

defective product in the Mr. Andrews’s car or that Bosch otherwise breached a

“legal duty in the nature of tort” owed to protect Mr. Andrews. Accordingly, the

Court cannot assign or otherwise apportion any “fault” to Bosch.

                   iii.   Fault can be apportioned to Mazda because Autoliv
                          presented evidence that affords the Court a rational
                          basis to apportion fault.

      At trial, Autoliv insisted that it did nothing wrong and that the design of its

seatbelt was not defective. Autoliv also contended that its seatbelt was not a

proximate cause of Mr. Andrews’s injuries and death, and that any fault for

Mr. Andrews’s injuries and death rested with some other party (i.e., Mr. Andrews

himself, Mazda, or Bosch). Autoliv presented at trial only a corporate



                                         72
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 73 of 96




representative, an engineer, and two expert witnesses to support its claims that the

seatbelt’s design was not defective and that something besides the seatbelt was the

proximate cause of Mr. Andrews’s injuries and death.

      The unrebutted testimony of Plaintiff’s expert, Mr. Caruso, is credible and

established that as to defect with the airbag system and the cause for the non-

deployment of the airbag, “it was the connector and the wire connected to that

sensor that failed, not the sensor itself.” Caruso testimony, 10/6/21 AM Trial Tr.

p. 88, lines 10–13. He further testified that “if the wire had not been cut, the system

was designed reasonably well, it would have deployed the airbags.” Id. at lines

18–22. He also testified that the fault for the wire getting cut and the sensor coming

apart “was a combination of Mazda’s decision on how to route the wire and the

decision to use [a] substandard connector,” which Plaintiff’s expert garnered was

a Mazda decision. Id. at line 23–p. 89, line 5.

      Plaintiff’s biomechanics expert also testified that had the airbag deployed as

designed (or had the seatbelt not allowed 20 inches of spool out), Mr. Andrews

would not have struck the steering wheel with fatal force. Ziejewski testimony,

10/5/21 PM Trial Tr. pp. 6, lines 18–25; 103, lines 21–23. This evidence allows the

Court, as factfinder, to conclude that Mazda “breached a legal duty in the nature

of tort” owed to protect Mr. Andrews and thus is at “fault” for Mr. Andrews’s


                                          73
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 74 of 96




injuries and death. See Chrysler Corp., 264 Ga. at 724, 450 S.E.2d at 211 (“[A]

manufacturer has a duty to exercise reasonable care in manufacturing its products

so as to make products that are reasonably safe for intended or foreseeable uses.”).

Plaintiff also acknowledged in her own proposed findings of fact that the evidence

adduced at trial allows the Court, as factfinder, to conclude that Mazda “breached

a legal duty in the nature of tort” owed to protect Mr. Andrews and thus is at

“fault” for Mr. Andrews’s injuries and death. Doc. No. [523], 74.

      But establishing fault of a nonparty is not enough to prevail on the

affirmative defense of apportionment. Autoliv also had to present competent

evidence that would establish a “rational basis for apportionment.” Couch, 291 Ga.

at 366, 729 S.E.2d at 384; see also Holden, 349 Ga. App. at 300, 826 S.E.2d at 144.

Whether Autoliv established a rational basis that would enable the Court, as

factfinder, to apportion fault—as a percentage—between Autoliv (which the Court

already held was liable for Mr. Andrews’s injuries and death) and Mazda is a

question of fact. Couch, 291 Ga. at 366, 729 S.E.2d at 384; see also Alston & Bird,

LLP, 862 S.E.2d at 303 (“Whether fault is divisible as a matter of fact, by contrast,

is for the trier of fact to determine so long as some evidence is presented that would

allow a rational division.”).




                                         74
         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 75 of 96




         In addition, “in arriving at how to express [the] different degrees of

culpability in mathematical terms,” the factfinder is “not bound by any specific

formula; instead, the matter [is] to be ‘determined according to the enlightened

conscience of [the] fair and impartial’” factfinder. Surles v. Cornell Corr. of Calif.,

Inc., 290 Ga. App. 260, 270, 659 S.E.2d 683, 691 (2008).

         The Court resolves the question of fact of whether fault is divisible to Mazda

by finding that Autoliv presented some evidence that established a basis to

apportion fault (as a percentage) between Autoliv and Mazda. In addition, to the

above-stated evidence concerning Mazda’s conduct as it relates to its

responsibilities for the 2005 Mazda3, the Court notes that Mazda also placed the

2005 Mazda3 in the stream of commerce for foreseeable users to purchase despite

concerns about the dummy’s head bottoming out on the steering wheel in testing.

         From this evidence, the Court can rule based on logic and reason and its

enlightened conscience (rather than emotion or guesswork) that Mazda should be

assigned 50 % of the fault and Autoliv should be assigned 50% fault. More

specifically, the Court allocates fault as follows:

         50% Autoliv
         50% Mazda63


63   As indicated above, 0% of the fault is allocated to Mr. Andrews and Bosch. In addition,



                                             75
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 76 of 96




      ______
      100% total fault

      The Court recognizes Plaintiff’s opposition arguments that it simply is not

the law that someone can sell a defective product, then blame the buyer (here,

Mazda was the initial buyer of the seatbelt as a component of the 2005 Mazda3

and placed the Mazda3 in the stream of commerce). Plaintiff’s argument is based

upon the common law of apportionment. However, the Georgia Supreme Court

has recently recognized that in Georgia, the common law of apportionment has

been displaced by the apportionment statute, which states in relevant part: “[i]n

assessing percentages of fault, the trier of fact shall consider the fault of all persons

or entities who contributed to the alleged injury or damages, regardless of whether

the person or entity was, or could have been, named as a party to the suit.”

O.C.G.A. § 51-12-33(c); see also Johns, 310 Ga. at 169, 850 S.E.2d at 67.

       In the Johns case, the Georgia Supreme Court considered arguments that

were similar to those raised by Plaintiff in the case sub judice and the court declined

to ignore the plain language of Georgia’s apportionment statute. Id. at 169, 850

S.E.2d at 67. The court also declined to write into the statute an exception for strict




Mazda has already settled with Plaintiff. Therefore, no judgment will issue against
Mazda.


                                           76
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 77 of 96




liability claims. Id. The court recognized that “[t]here is a policy argument that the

protection of consumers is so important that it should extend to ignoring their

contribution to injuries caused by defective products,” but noted that “some courts

and scholars ‘have argued that it is unwise to relieve users and consumers of all

responsibility for safe product use and consumption.’” Id. (citing Restatement

(Third) of Torts: Products Liability § 17, reporters’ note on comment a. (1998)). The

court concluded by stating that the Georgia General Assembly balanced these

competing policy considerations by choosing to enact the apportionment statute.

Id. at 170, 850 S.E.2d at 67. In light of this authority, this Court declines to uphold

Plaintiff’s “can’t blame the buyer” of a defective product argument.

             5.     Autoliv’s misconduct in this case warrants punitive damages.

                    i.    Autoliv’s misconduct warrants punitive damages.

      Under Georgia law, punitive damages may be awarded in tort cases where

there is “clear and convincing evidence64 that the defendant’s actions showed . . .

that entire want of care which would raise the presumption of conscious

indifference to the consequences.” O.C.G.A. § 51-12-5.1(b). To deserve punitive



64 “‘[C]lear and convincing evidence’ is an intermediate standard of proof, requiring a
higher minimum level of proof than the preponderance of the evidence standard, but less
than that required for proof beyond a reasonable doubt.” Clarke v. Cotton, 263 Ga. 861,
862, 440 S.E.2d 165, 166 n.1 (1994).


                                          77
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 78 of 96




damages, the defendant need not be “guilty of willful and intentional

misconduct”; rather, the defendant’s misconduct need only “be done under such

circumstances as evinces an entire want of care and a conscious indifference to the

consequences.” Scapa Dryer Fabrics, Inc. v. Knight, 332 Ga. App. 82, 91, 770 S.E.2d

334, 343 (2015), rev’d on other grounds, 299 Ga. 286, 788 S.E.2d 421 (2016).65

      Punitive damages are available in a products liability action. In Knight, for

example, the court held that evidence that the defendant “knew or should have

known about the health dangers of asbestos exposure as a result of the weaving

process at its plant, but did not warn about the dangers, or take any steps to protect

plant workers from the dangers” created a jury question on the issue of punitive

damages. See Knight, 332 Ga. App. at 84, 90–91, 770 S.E.2d at 339, 343. In another

case, the Georgia Court of Appeals held that the trial court did not err in denying

summary judgment and sending the issue of punitive damages to the jury in a




65 The Georgia Supreme Court granted certiorari and reversed a portion of Knight
unrelated to this holding. Scapa Dryer Fabrics, Inc. v. Knight, 299 Ga. 286, 788 S.E.2d 421
(2016). When the case returned to the Georgia Court of Appeals, the intermediate
appellate court vacated the reversed portion of its earlier opinion and substituted the
Georgia Supreme Court’s opinion. Scapa Dryer Fabrics, Inc. v. Knight, 340 Ga. App. 199,
796 S.E.2d 918 (2017). But the Georgia Court of Appeals’ discussion of both the nature of
the misconduct necessary to warrant punitive damages as well as the court’s conclusion
that punitive damages were properly a jury question under the facts presented remain
good law. See id.


                                            78
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 79 of 96




products liability case in which there was evidence from which the jury could find

that the design of the product at issue (a carpet-wrapping machine) proximately

caused a repairman’s fatal injury. Dixie Grp., Inc. v. Shaw Indus. Grp., Inc., 303

Ga. App. 459, 466, 693 S.E.2d 888, 893–94 (2010).

      Here, the Court has concluded that the Autoliv seatbelt is defective. Not

only is the seatbelt defective, it is also an extreme outlier as it was made up of the

lowest kilonewton torsion bar that Plaintiff’s expert had every seen, allowed a

gross amount of payout, and was the worst in its class as demonstrated by

Plaintiff’s comparison exhibits.

      A wreck like the one at issue in this case was indisputably foreseeable to

Autoliv—as it is essentially the same speed/circumstances as the NCAP test.

Buchner testimony, 10/5/21 AM Trial Tr. p. 41, lines 5–25. Autoliv knew that

airbags fail. Prentkowski testimony, 10/7/21 Trial Tr. p. 52, lines 15–17. Autoliv

knew that if the airbag in Mr. Andrews’s 2005 Mazda3 failed to deploy, then the

Autoliv seatbelt would spool out so much it would be useless to a driver and could

result in exactly what happened to Mr. Andrews. Id. at p. 56, lines 7–9. Yet Autoliv

sold the defective seatbelt anyway—despite not having to do so. Id. at p. 46, line




                                         79
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 80 of 96




24–p. 47, line 1. Not only that, Autoliv did not warn Mazda that Mazda’s

customers could be killed because of excessive spool out.66

       The Court recognizes Autoliv’s opposition arguments, i.e., that it supplied

Mazda with high, medium, and low options for the deployment thresholds for the

subject seatbelt retractor for which Mazda chose the low option, and that even

Plaintiff’s expert acknowledged that Autoliv did not need to tell Mazda that they

could use a higher threshold if Mazda was telling Autoliv that they already knew

about the higher threshold. See Caruso testimony, 10/6/21 AM Trial Tr. p. 124,

lines 17–21. The Court also recognizes Autoliv’s argument that the seatbelt passed

seatbelt-specific federal testing and the vehicle at issue received a 4 out of 5-star

rating during NCAP testing.67




66As stated in the Court’s ruling denying Autoliv’s Motion in Limine to Exclude Failure
to Warn Evidence and Arguments, while Plaintiff’s failure to warn claim was dismissed
from this case prior to trial, the failure to warn evidence is still relevant to the Plaintiff’s
design defect and punitive damages claim. See Doc. No. [492].
67 Autoliv also argues that automobile manufacturers, not the component suppliers,
make the final decision as to which components will be incorporated into their vehicle.
While true (according to the evidence presented at trial), such evidence still does not
prevent Autoliv from being held liable under the Eleventh Circuit’s earlier opinion
rendered in this case (which, as indicated above, constitutes law of the case and binds
this Court). See Doc. No. [309], 3 (“Autoliv manufactured seatbelt components in the
deceased’s Mazda and Plaintiff alleges that those components were defective when sold.
Consequently, Autoliv can be held liable under [O.C.G.A.] § 51-1-11 if a component it
manufactured was defective ‘when sold by the manufacturer’ and if the component’s



                                              80
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 81 of 96




      Even though, according to Plaintiff’s expert, Autoliv did not need to tell

Mazda about something that it already knew, Autoliv has cited no binding

authority that shows that the punitive damages consideration ends there for

purposes of the circumstances of the case sub judice. Further, after providing the

testimony that Autoliv now relies upon, Plaintiff’s expert went on to testify that

he still believed that Autoliv had a duty to warn Mazda of the weaknesses in

Autoliv’s product. See Caruso testimony, 10/6/21 AM Trial Tr. p. 136, lines 11–14.

The Statement of Work between Autoliv and Mazda also showed that Autoliv had

contractual duties concerning quality development targets and conformity to

users’ needs. PX 11. The evidence at trial further showed that there was a lack of

warnings by Autoliv to the foreseeable users of the seatbelt, i.e., Mr. Andrews and

the other purchasers of the 2005 Mazda3.

      While the fact that the Mazda vehicle and seatbelt at issue complied with

applicable federal safety regulations is some evidence of due care, it does not

conclusively eliminate Autoliv’s liability for its design of a defective product

under Eleventh Circuit precedent. See Richards v. Michelin Tire Corp., 21 F.3d




‘condition when sold is the proximate cause of the injury sustained.’”) (citing O.C.G.A.
§ 51-1-11(b)(1)).


                                          81
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 82 of 96




1048, 1059 (11th Cir. 1994) (holding that “compliance with both federal regulations

and industry practices is some evidence of due care”); Elliott v. Brunswick Corp.,

903 F.2d 1505, 1508 (11th Cir. 1990) (“[W]e agree, that a manufacturer’s proof of

compliance with either industry-wide practices, or even federal regulations, fails

to eliminate conclusively its liability for its design of allegedly defective

products.”). As stated by the Eleventh Circuit, “[w]e do not, naturally, dismiss a

manufacturer’s compliance with industry standards, but we must also remember

that those standards may sometimes merely reflect an industry’s laxness,

inefficiency, or inattention to innovation.” Elliott, 903 F.2d at 1508 (citations

omitted). 68

      In the case sub judice, an award of punitive damages is not precluded by

compliance with industry standards because there is evidence that shows willful

misconduct and that entire want of care that would raise the presumption of

conscious indifference to the consequences. See Oglethorpe Power Corp. v. Est. of

Forrister, 332 Ga. App. 693, 705, 774 S.E.2d 755, 765 (2015) (holding that

“compliance [with industry standards], while tending to show a lack of evidence




68 The Court recognizes that the Eleventh Circuit was considering Alabama law in the
Richards and Elliott cases, but the legal principle is persuasive authority for purposes of
the case sub judice.


                                            82
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 83 of 96




supporting the award of punitive damages, does not absolutely preclude such an

award if the evidence shows ‘willful misconduct, malice, fraud, oppression, or that

entire want of care which would raise the presumption of a conscious indifference

to the consequences.’”) (citations omitted). Said evidence is the fact that Autoliv

did not warn any foreseeable users/consumers of the product, such as

Mr. Andrews, of the dangers of the product. See Prentkowski testimony,

10/4/2 PM Trial Tr. p. 33, lines 3–16 (admitting that during the 11 years between

Mazda’s January 2002 email notifying Autoliv that dummies’ heads were

bottoming out on the steering wheel and Mr. Andrews’s collision, Autoliv never

warned anyone that if the airbag sensor fails in a frontal collision, the driver’s head

could hit the steering wheel so hard it kills). It is undisputed that Autoliv knew

how to design and manufacture a seatbelt that was not so defective, because

Autoliv had already done just that with the 2004-2009 Volvo S40—before it sold

this defective seatbelt to Mazda. See Doc. No. [503], ¶¶ 26, 29.

      Autoliv’s corporate representative Mr. Prentkowski admitted that Autoliv

knew that Mr. Andrews’s seatbelt would spool out 20 inches if the airbag did not

deploy, and he admitted that it was foreseeable to Autoliv that the airbag might

not deploy. Prentkowski testimony, 10/7/21 PM Trial Tr. p. 52, lines 12–17.

Autoliv admitted that what is foreseeable can be avoided. Id. at p. 52, lines 19–20.


                                          83
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 84 of 96




Autoliv further admitted that the 20 inches of spool out that Mr. Andrews’s

seatbelt had in this wreck was avoidable. Id. at p. 52, lines 21–23. Even so, Mr.

Prentkowski never identified a single thing that Autoliv did to try to avoid the

20 inches of spool out that killed Mr. Andrews when the airbag in his car

foreseeably failed to deploy—other than saying Autoliv supplied what was

requested by Mazda. Id. at p. 53, lines 7–18. Mr. Prentkowski twice admitted that

refusing to avoid the foreseeable when opportunities exist to do so is, as a practical

matter, the equivalent of intentional misconduct. Id. at p. 52, line 24–p. 53, line 2;

10/4/21 PM Trial Tr. p. 23, line 22–p. 24, line 25.

      Mr. Prentkowski also testified that “Mazda was not concerned, so we

weren’t concerned.” 10/4/21 PM Trial Tr. p. 34, line 5. However, the evidence at

trial showed that Mazda was concerned about the testing of the vehicle at issue

that showed that the dummies’ heads were bottoming out in the steering wheel.

      The evidence at trial also showed that Autoliv suggested a design change

that weakened the seatbelt. See Meyer testimony, 10/6/21 PM Trial Tr. pp. 87–89.

Autoliv knew this seatbelt was very weak compared to the 2004-2009 Volvo S40,

built on the same platform, and compared to all the other seatbelts on the market

at the time, yet Autoliv was the author of the design change that made the seatbelt

weaker. Autoliv made no attempt to dispute that evidence.


                                         84
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 85 of 96




      The Court recognizes Autoliv’s argument that Plaintiff has not proven that

there were other incidents just like this one; however, this argument is not

determinative for two reasons. First, there was another incident involving the

passenger seatbelt (with a similar spool out as at issue here) in a California case.

Second, Mr. Prentkowski admitted that he did not know—because no one told

him—how many times this seatbelt has spooled out this much or almost this much

and someone was killed. Prentkowski testimony, 10/7/21 PM Trial Tr. p. 59,

line 22–p. 60, line 11. Mr. Prentkowski also admitted that he did not know of

anything that Autoliv did to monitor the “field performance” of its products and

that he did not know who at Autoliv does know what Autoliv does to monitor the

“field performance” of its products. Id. at p. 61, line 4–p. 62, line 11. Given that

Autoliv knew that this seatbelt was effectively useless unless the airbag deployed

and knew that airbags sometimes fail to deploy, Autoliv’s failure to do anything

to find out if such incidents were happening was reckless and wanton.

      Despite knowing that there is a defect in the crash sensing system of the 2005

Mazda3, Autoliv has not notified the National Highway Traffic Safety

Administration (“NHTSA”), nor has Autoliv told Mazda to report that defect to

NHTSA. Prentkowski testimony, 10/7/21 Trial Tr. p. 70, line 12–p. 71, line 4.




                                        85
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 86 of 96




      The Court finds that Autoliv’s conduct amounted not only to an “entire

want of care and a conscious indifference to the consequences” but also amounted

to reckless and wanton misconduct.

      In addition, despite knowing for years that the seatbelt in Mr. Andrews’s

car spooled out 20 inches in a 35-mph frontal collision, Autoliv has not taken a

single step to warn Georgians about the risk of serious injury or death. Yet Autoliv,

as a manufacturer of a product that it knows is dangerous, has a post-sale duty to

warn under Georgia law. See Chrysler, 264 Ga. at 725, 450 S.E.2d at 211 (holding

that a manufacturer has a duty to warn even if it acquires that knowledge decades

after the first sale of the product); see also Giodano v. Ford Motor Co., 165 Ga.

App. 644, 644, 299 S.E.2d 897, 899 (1993) (“[W]here the [component] product

reaches the ultimate user essentially in its original state,…the manufacturer is not

necessarily absolved from the duty to warn, if such a duty would otherwise

exist.”). Autoliv knew that the seatbelt was not performing well in safety tests

before the seatbelt went to market, yet Autoliv put the seatbelt on the market

anyway.69 Instead of warning potential victims of its defective seatbelt Autoliv has




69As indicated above, the fact that the seatbelt eventually passed federal safety testing
does not preclude punitive damages.


                                           86
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 87 of 96




persisted in insisting there is nothing wrong with that seatbelt—an argument that

is without merit in light of the evidence presented at trial. There is clear and

convincing evidence that Autoliv’s misconduct “evinces an entire want of care and

a conscious indifference to the consequences.” Knight, 332 Ga. App. at 91, 770

S.E.2d at 343 (citation omitted).70 Punitive damages are thus warranted.

                    ii.    The amount of punitive damages.

       Under Georgia law, punitive damages “shall be awarded not as

compensation to a plaintiff but solely to punish, penalize, or deter a defendant.”

O.C.G.A. § 51-12-5.1(c).71 Where, as here, the defendant’s conduct calls for punitive

damages, the factfinder “shall . . . set the amount to be awarded” after receiving

“such evidence as is relevant to a decision regarding what amount of damages will

be sufficient to deter, penalize, or punish the defendant in light of the



70 The evidence at trial also created an inference of Autoliv’s conscious indifference. See
Tookes v. Murray, 297 Ga. App. 765, 768, 678 S.E.2d 209, 213 (2009) (indicating that a
factfinder “may award punitive damages even where the clear and convincing evidence
only creates an inference of the defendant’s conscious indifference to the consequences
of his acts”).
71 This section of the Order focuses only on Autoliv’s conduct and financial
circumstances. Accordingly, there is no discussion of apportionment and Mazda in this
section of the Order. Cf. Surles, 290 Ga. App. at 270, 659 S.E.2d at 691 (indicating that a
factfinder is not bound by any specific formula in arriving at how to express degrees of
culpability in mathematical terms and “the matter [of punitive damages] was to be
‘determined according to the enlightened conscience of [the] fair and impartial’”
factfinder) (citations omitted).


                                            87
         Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 88 of 96




circumstances of the case.” O.C.G.A. § 51-12-5.1(d)(2). Georgia does not cap the

amount of punitive damages in a products liability case, although 75 percent of

the award (“less a proportionate part of the costs of litigation, including reasonable

attorney’s fees, all as determined by the trial judge”) must be paid to Georgia’s

Office     of   the   State   Treasurer.   O.C.G.A.    § 51-12-5.1(e)(1)–(2). “[U]nlike

compensatory damages, punitive damages serve the public interest by punishing,

penalizing, and deterring the wrongdoer.” Brown & Williamson Tobacco Corp. v.

Gault, 280 Ga. 420, 423, 627 S.E.2d 549, 552 (2006).

         Having concluded that Autoliv’s misconduct warrants punitive damages,

the Court must decide what amount of punitive damages will punish, penalize,

and deter Autoliv from manufacturing and selling seatbelts that do not protect

people in foreseeable, real world collisions. To accurately assess the necessary

amount of punitive damages, the Court has considered Autoliv’s “financial

circumstances.” See Holland v. Caviness, 292 Ga. 332, 335, 737 S.E.2d 669, 671

(2013) (“[I]f a cause of action is within the ambit of O.C.G.A. § 51-12-5.1, evidence

of the defendant’s financial circumstances may be admissible.”); Council of

Superior Court Judges, Georgia Suggested Pattern Jury Instructions, Vol. 1 Civil

66.750 (5th ed. 2020) (“In considering the amount of punitive damages, you may




                                           88
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 89 of 96




consider . . . the financial circumstances, that is, the financial condition and[/]or

the net worth of the defendant.”).

       Nearly thirty years ago, the Georgia Court of Appeals, sitting en banc, held

unanimously that “financial evidence”—an annual corporate financial report and

a Form 10-K submitted to the Securities and Exchange Commission—was

“relevant and admissible” to help the factfinder determine the amount of punitive

damages. J.B. Hunt Transp., Inc. v. Bentley, 207 Ga. App. 250, 257–58, 427 S.E.2d

499, 506 (1992) (en banc).72 Here, Plaintiff introduced evidence of Autoliv’s annual

reports and Form 10-K filings of Autoliv’s parent company Autoliv, Inc. at trial.73




72  While the relevance and admissibility of evidence in a case pending in federal court
are generally questions of governed by the Federal Rules of Evidence, state-court
evidentiary rulings are nonetheless persuasive authority that the Court may look to for
guidance. Atwater v. Schwartz, No. 2:18-CV-146, 2020 WL 7249626, at *1 (S.D. Ga. Dec. 9,
2020) (“For procedural evidentiary issues, Georgia law is only relevant as persuasive
authority or to the extent the Federal Rules of Evidence or the federal courts deem state
law relevant to an evidentiary issue.”). The Court finds, in the exercise of its discretion,
that Autoliv’s annual reports and Form 10-K filings are both relevant and admissible
evidence on the issue of Autoliv’s financial condition. See also Daugherty v. Ocwen Loan
Servicing, LLC, 701 F. App’x 246, 258 (4th Cir. 2017) (holding that a parent company’s
Form 10-K filed with the United States Securities and Exchange Commission “was not
perfect evidence of [the defendant-subsidiary’s] financial worth, . . . [however, the SEC]
filings were sufficiently related to [the defendant-subsidiary’s] finances to be relevant for
determining the appropriate amount of punitive damages”).
73 Stipulations concerning net profit of the Defendant Autoliv Japan, Ltd. are in the record
at Doc. No. [526].


                                             89
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 90 of 96




       Autoliv, Inc.’s annual reports and Form 10-K fillings contain information

relevant to Autoliv’s financial condition. Autoliv, Inc.’s annual financial reports

show that it is a multibillion-dollar company. For example, for fiscal year 2020, the

most recent fiscal year, Autoliv, Inc. reported net sales of $7.4 billion and an

operating income of $382 million. PX 1138 SEC 10-K Filing. Focusing only on

seatbelt sales, Autoliv, Inc. has reported annual sales over $2.5 billion in every year

since 2013, when Mr. Andrews’s fatal collision occurred. PX 203A at 31 (years

2013–2017); PX 1138 SEC 10-K Filing at 39 (years 2018–2020). Since 2003, Autoliv

has amassed over $45 billion in seatbelt sales.74 Autoliv closed the 2020 fiscal year

with $8.1 billion in total assets. PX 1138 SEC 10-K Filing at 39.

       Plaintiff initially named Autoliv, Inc. in this lawsuit. In May 2015, Autoliv

told Plaintiff and this Court that “if any Autoliv entity was involved in the design,

testing, manufacture, or supply of components of the occupant restraint system in

the Mazda3 at issue in this case, it was Autoliv Japan, Ltd.” Doc. No. [108], 2.75 In




74 PX 189A at 53; PX 190 at 57; PX 191A at 63; PX 192A at 65; PX 193A at 69; PX 194 at 71;
PX 195A at 75; PX 196A at 85; PX 197A at 85; PX 198A at 89; PX 199A at 89; PX 200A at 89;
PX 201A at 93; PX 202A at 93; PX 203A SEC 10-K Filing at 31; PX 1128 SEC 10-K Filing at
28; PX 1129 SEC 10-K Filing at 29; PX 1138 at 39.
75Based on that representation, Plaintiff voluntarily dismissed her claims against
Autoliv, Inc. (and other Autoliv entities), and the Autoliv entities agreed that the statutes



                                             90
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 91 of 96




other words, Autoliv told Plaintiff and this Court that no other Autoliv entity,

including its parent company Autoliv, Inc., needed to be a part of this case for

Plaintiff to obtain complete relief for her claims, which have always included a

claim for punitive damages against Autoliv. See Doc. No. [1-2], 35–36 (count ten);

Doc. No. [17], 30–31 (count ten); Doc. No. [90], 31 (count ten). Plaintiff worked with

Autoliv to ensure the correct parties were named in the lawsuit. Plaintiff agreed to

dismiss Autoliv, Inc. and all other Autoliv entities in reliance on Autoliv’s

representations that Autoliv Japan, Ltd. was the correct entity and that Autoliv

would produce in discovery any documents in the possession custody and control

of any Autoliv entity. Id.76

      Plaintiff has introduced evidence that proves that Autoliv has ignored

formal divisions among corporate Autoliv entities when it comes to the seatbelt at

issue. The earliest documents about the seatbelt, which prove that the defective

Autoliv seatbelt design existed before Mazda even started the Mazda3 program,




of limitation and repose would be tolled until Plaintiff’s claims against Autoliv Japan
were resolved. Doc. No. [108], 3. The Court entered an Order dismissing the other Autoliv
entities and tolling the statutes of limitations and repose. Doc. No. [137], 2.
76 The annual financial reports and 10-K forms of Autoliv, Inc. are publicly available
through the SEC’s Edgar system and there appears to be no dispute that they were within
the possession of at least one Autoliv entity.


                                           91
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 92 of 96




have the Autoliv corporate logo—not the “Autoliv Japan” insignia—at the top. See

PXs 72, 74 (details about the seatbelt pretensioner in Mr. Andrews’s car; R27LL

load limiting retractor, the retractor in Mr. Andrews’s car). These documents

provide the proprietary, confidential design information specific to the defective

seatbelt. Autoliv as the parent company is using documents across subsidiaries

and branding them with the parent logo. The detailed design drawing for the

torsion bar Autoliv designed and manufactured for Mr. Andrews’s car, shown

below, proves that the design came from Autoliv GmbH, a German subsidiary of

Autoliv, Inc., not Autoliv Japan, Ltd.




PX 7. Even when the detailed seatbelt design drawings contain the name of “NSK

Autoliv Co., Ltd.,” it is clear that the copyright for the drawing document and its

data belong to Autoliv, Inc.




                                         92
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 93 of 96




PX 1149. Therefore, this Court need not distinguish between Autoliv entities when

Autoliv’s own documents reflect no such distinction.

      Autoliv’s annual investor reports contain further proof that Autoliv is a

single company. Autoliv’s 2020 annual report proclaims that Autoliv is “[t]he

[w]orld’s [l]argest [a]utomotive [s]afety [s]upplier” and has over 68,000 associates

in 27 countries. PX 1138 at pp. 3–5. Autoliv also claims that its products have saved

more than 30,000 lives—without any effort to separate the lives saved by

subsidiary. Id.77

      Autoliv’s conduct in this case also contradicts any claim that Autoliv Japan,

Ltd. is autonomous from its parent and sibling companies. Autoliv designated




77 The Japanese website for Autoliv (www.autoliv.jp) offers further proof that Autoliv
is a single company. The bottom of the Japanese website clearly says—in English—that
“Autoliv, Inc.” holds the copyright on the website, not Autoliv Japan, Ltd. See Doc. No.
[450-1], 3.


                                           93
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 94 of 96




Mr. Prentkowski as its corporate representative to testify about Autoliv Japan,

Ltd.’s “role in designing, testing, manufacturing, marketing, distributing, and

selling the subject seatbelt” and [t]he reasons Autoliv designed the subject seatbelt

such that it could spool out 20” in a frontal collision,” among other topics at

Autoliv’s deposition under Fed. R. Civ. P. 30(b)(6). Doc. No. [205], 2–4.

Mr. Prentkowski, however, does not work for Autoliv Japan. Prentkowski

testimony, 10/4/21 PM Trial Tr. p. 10, lines 3–14. He works for a different

subsidiary of Autoliv, Inc. called Autoliv ASP. Id. Mr. Prentkowski did not work

on the subject seatbelt at all. Id. at p. 9, lines 20–22. Yet he testified for Autoliv as

Autoliv’s corporate representative at trial. Id. at p. 8, lines 16–18.

      Based on the record and evidence introduced at trial, the Court concludes

that Autoliv, Inc. operated as a single enterprise for purposes of designing,

manufacturing, and selling the seatbelt at issue.

      The Court has already held that evidence of Autoliv, Inc.’s financial

condition, as shown by its 10-K filings with the Securities and Exchange

Commissions, is relevant to the issue of punitive damages. Doc. No. [494], 6–7.

      Autoliv told Plaintiff in discovery that it has a $25 million insurance policy

that covers Plaintiff’s products liability claims. See Doc. Nos. [217]; [451-1]. The

existence and amount of insurance coverage is relevant and admissible on the


                                           94
      Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 95 of 96




amount of punitive damages to award. As Judge Totenberg concluded in another

case, if an insurance policy provides coverage for any part of the plaintiff’s award

(as Autoliv has admitted), “the insurance policy is relevant to [the defendant’s]

overall financial condition and resources available,” which the factfinder should

consider to determine the amount of punitive damages, even if the insurance

policy excludes coverage for punitive damages (something Autoliv has not

claimed). Cooper v. Marten Transp., Ltd., No. 1:10-cv-3044, 2014 WL 11517830, at

*6 (N.D. Ga. May 23, 2014) (Totenberg, J.) (citing Hosp. Auth. of Gwinnett Cnty. v.

Jones, 259 Ga. 759, 763, 386 S.E.2d 120, 124 n.13 (1989), reinstated on remand, 261

Ga. 613, 409 S.E.2d 501 (1991)).

      In determining the amount of punitive damages to award to achieve the

goals of punishing Autoliv and determining future wrongdoing, the Court has

taken note of Autoliv’s refusal to accept any responsibility for Mr. Andrews’s

injuries and death during the course of litigation or at trial. See Merrick v. Paul

Revere Life Ins. Co., 594 F. Supp. 2d 1168, 1184 (D. Nev. 2008) (finding that

defendant’s refusal to accept responsibility for its own conduct because others in

the industry acted the same actually “supports the need for a higher award of

punitive damages to accomplish the deterrent purpose of such awards”).




                                        95
       Case 1:14-cv-03432-SCJ Document 534 Filed 12/31/21 Page 96 of 96




       Based on the evidence adduced at the bench trial, the Court imposes

punitive damages against Autoliv in the amount of $100,000,000.00 (One-Hundred

Million Dollars).

III.   CONCLUSION

       The Court enters judgment in favor of Plaintiff and against Defendant,

Autoliv Japan, Ltd., and awards the following apportioned amounts to Plaintiff:

       $9,671.70 for funeral and medical expenses;

       $1,000,000.00 in general damages for the predeath fright, shock, terror, and
       pain and suffering that Micah Andrews endured;

       $12,500,000.00 for the full value of Micah Andrews’s life; and

       $100,000,000.00 for punitive damages.

       The Clerk is DIRECTED to enter this Final Order and Judgment and close

this case.78

                              31st
       IT IS SO ORDERED this _______ day of December, 2021.


                                          HONORABLE STEVE C. JONES
                                          UNITED STATES DISTRICT JUDGE




78 The Court recognizes that certain post-judgment issues remain concerning attorney’s
fees and sanctions. The parties shall follow the Court’s prior instructions on these matters.
See Doc. Nos. [427]; [524].


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